Case 2:24-cv-11243-GAD-Cl

Tyrone L. Reyes,
Plaintiff

Case No.

v Hon.

“Jury Triai Demanded*
Sirena Landfair, RN:
Brian Stricklin, RN;
Mandy Hollister, RN;
John Salazar, RN;
Alinda Florek, RN:
Charles Jamsen, MD;
Amy Coffelt, Food Dir.;
(unknown) Graves, FSS;
(unknown) Hirth, FSS:
(unknown) White, ADW;
(unknown) Crowley, PC;
(unknown) Keiser, Ofc;
{unknown} Fridd, Ofc:
{unknown} Cobb, GC:
(unknown) Mosiey, Ofc;
(unknown) Poupard, Ofc;
(unknown) Holzschu, Sgt;

Defendants.

(unknown) Sutherlance, H/O

(unknown) St. Charles, Sgt;

ECF No. 1, PagelD.1 Filed 05/10/24

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF MICHIGAN

Case: 2:24-cv-11243

Judge: Borman, Paul D.

MJ: Ivy, Curtis

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Filed: 05-10-2024 At 12:03 PM
CMP REYES v LANDFAIR, et al

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“CIVIL COMPLAINT“

A. FILING OF PREVIOUS LAWSUIT:

The plaintiff, has filed two previous lawsuits, see civil actions: 1:17 cv-00755 & 1:20-cv-00195.

B. INTRODUCTION:

This is a civil rights action, filed by the plaintiff Tyrone L. Reyes, a Michigan state prisoner. Plaintiff,
hereby seek to recover monetary damages, in accordance with 42 U.S.C. sec. 1983. He alleges here
that his. First, Fourth, Eighth, Fourteenth, and ADA Rights, in violation of MCLS 750.174, Ethnic
Intimidation; PD.03.03.130, inhumane Treatment and Living Conditions; PD.02.03.107, Code of
Etnnics and Conduct-Employee: PD.02 03.100, Employee Disciptine; PD.03.02.130, Grievance
Policy. PD.03.04.100, Health Service; state & federal | laws. Plaintiff, alleges that he was retaliated
against for exercising his first amendment rights, delayed medical

treatment, deliberate indifference to serious medical needs and being in severe pain. Plaintiff, further
alleges that each defendants were acting under color of state law when the above incidents occurred.
Accordingly, he asks that the Court to grant him relief requested.

C. JURISDICTION:

This Court has the authority to address the matter alleged in this complaint under the provisions of 28
U.S.C. sec.1331 and sec. 1343(a}{3}, and to enter declaratory relief in accord with 28 U.S.C. 2201
and 2202.

D. VENUE:

The U.S. District Court for the Eastern District of Michigan, is the proper venue, in which this action
should be commenced in accord with 28 U.S.C. sec. 1391(b)(2), since the events alleged within this
compiaint occurred at G.Roberts Cotton Correctionat Facility, in Jackson, Michigan, which is situation
in the Eastern District of Michigan.

E. PLAINTIFF:

The plaintiff, in this case is, Tyrone L. Reyes, and at all times mentioned in this action, he was
prisoner of the State of Michigan, in the custody of Michigan Department of Corrections (MDOC). He

is currently detained at Thumb Correctional Facility, situated in Lapeer, Michigan.
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F. DEFENDANTS:

1) Defendant Sirena Landfair, RN, at all times indicated in this complaint was a Register Nurse and
the Health Unit Manager (HUM) at G.Roberts Cotton Correctional Facility and was acting under the
color of state law.

2) Defendant Alinda Fiorek, RN, at all times indicated in this complain was a Register Nurse at
G.Roberts Cotton Correctional Facility and was acting under the color of state law.

3) Defendant Charles Jamsen, MD, at all times indicated in this complaint was a doctor contracted
with Wellpath at G.Roberts Cotton Correctional Facility and was acting under the color of state law.
4) Defendant John Salazar, RN, at all times indicated in this complaint was a Register Nurse at
G.Roberts Cotton Correctional Facility and was acting under the color of state.

5} Mandy Hollister, RN, at all times indicated in this complaint was a Register Nurse at G. Roberts
Cotton Correctional Facility and was acting under the color of state law.

6) Defendant Brian Stricklin, RN, at all times indicated in this complaint was a Register Nurse at
G.Roberts Cotten Correctional Facility and was acting under cotor of state law.

7) Defendant unknown Fridd, Ofc., at all times indicated in this complaint was a correction officer at
G.Roberts Cotton Correctional Facility and was acting under the color of state law.

8) Defendant unknown Poupard, Ofc., at all times indicated in this complaint was a correction officer
at G. Roberts Cotton Correctional Facility and was acting under the color of state law.

9) Defendant unknown Cobb, G.C., at all times indicated in this complaint was a Grievance
Coordinator at G. Roberts Cotton Correctional Facility and was acting under the color of state law.
10) Defendant unknown Mosley, Ofc., at all times indicated in this complaint was a correction officer
at G.Roberts Cotton Correctional Facility and was acting under the color of state.

11) Defendant Crowley, PC, at all times indicated in this complaint was a Prison Counselor at

G.Robert Cotton Correctional Facility and was acting under the color of law.

12) Defendant unknown Graves, FSS, at all times indicated in this complaint was a Food Service

Supervisor at G. Robert Cotton Correctional Facility and was acting under the color of state law.
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13} Defendant Amy Coffelt, FD, at all times indicated in this complaint was a Food Director at
G.Robert Cotton Correctional Facility and was acting under the coior of state law.
14) Defendant unknown Hirth, FSS, at all times indicated in this complaint was a Food Service

Supervisor at G.Robert Cotton Correctional Facility and was acting under the color of state law.

15} Defendant unknown White, ADW, at all times indicated in this complaint was a Assistant Deputy
Warden at G. Roberts Cotton Correctional Facility and was acting under the color of state law.
16} Defendant Keiser, Ofc., at all times indicated in this complaint was a Correction Officer at G.

Robert Cotton Correctional Facility and was acting under the color of state law.

17) Defendant Holzschu, Sqt., at all times indicated in this complaint was a Sergeant at G. Robert
Cotton Correctional Facility and was actingunder the color of state law.

G. Capacity Defendants Are Being Sued: Plaintiff, is suing each defendants in their individual
capacities. Plaintiff, is also suing all of the defendants in their official capacities

18) Defendant ALJ Sutherland, Hearing Officer, at all times indicated in this complaint was a LARA
Officer in Lansing, Michigan and was acting under the color of state law.

19) Defendant St. Charles, Sgt. at all times indicated in this complaint was a Sergeant at G.Robert
Cotton Correctional Facility and was acting under the color of state law.

“STATEMENT OF CLAIMS*

This is a Civil Rights Action, filed by Plaintiff Tyrone L. Reyes, a state prisoner, who seeks damages
and declaratory relief under 42 U.S.C. sec. 1983, alleging his First, Fourth, Eighth, Fourteen
Amendment Rights, were violated when the defendants covertly retaliated against plaintiff between a
one year period from March of 2020 to early 2023, collectively or non-binding, for plaintiff speaking
out against Covid-19 violations, with complaints filed to Gov. Whitmer, MDCO Dir. Heidi Washington,
Warden Nagy, articles on social media, and attorney Daniel Mansville, under Erin Bartel Jpay

account,

1) On 8/13/20, plaintiff was calied in at approximately 4:20am to work back dock. Sometimes after

14:30am, FSS Hirth, approached plaintiff and told him that they needed help on the serging line, in
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which plaintiff explained that he wasn't feeling well and needed a minute to see if it'll blow over. FSS
Hirth, responded by saying, "| don't give and fuck, get on the line.” Plaintiff, then asked if he could
leave?" He stated, "if you leave. I'm writing you up". Plaintiff, took this as a threat and told him he'll
write and grievance if he do such a thing. See ex. A (JCF-2008-1640-17z)

2) Minutes later, FSS Graves, approached plaintiff and stated, “} need you to help on the line". Plaintiff
stated he would help. but needed a minute to rest because of not feeling well. Graves, than stated,
"Hirth says you have to get on the ‘ine or you're being written up”. Plaintiff, took this as a threat and
told Graves that if he’s written up he'll be filing and grievance for being threatened. See ex. B
(JCF-2008-1637-17z)

3} On 8/15/20, plaintiff approached FSS Graves and asked to call in another person to help on the
serving line, before we begin serving. Graves, responded with a harsh "No" and became enraged
saying, "I'm not getting you any help when you wrote me up”. Referring to grievance filed on 8/3/20,
(see ex.A).

4) Plaintiff, walked away and went to higher supervisor FSS Mourfair, and explained what was
happening and if

she could call someone in to help. FSS Graves, fast approached us and stated yelling about plaintiff
Going around her. Graves, then told plaintiff to take you its white band said, "you're fired",. Plaintiff
complied with the order and left the chowhall immediately after hearing the order. Plaintiff filed a
grievance. See ex.C (JCF-2008-1658-17b)

9) On 8/21/20, plaintiff was reviewed for a Disobeying a Direct Order misconduct, stemming from
incident that transpired on 8/20/20. See ex. D (misconduct report.

6) On 8/26/20, Hearing Officer Lt. Lasacco, conducted an administrative Class II misconduct hearing
and found the plaintiff not guilty. See ex. E (hearing report)

7) On 8/30/20, FSS Graves, approached plaintiff and stated, "you need to quit. before you really
regret it for writing grievances on me". In which this plaintiff stated, "! will not quit," then walked away.
FSS Graves, got on The phone and minutes later Sgt. Cooper came into the chowhall, talked to

Graves and walked up to the plaintiff and told him to step outside. He aggressively asked, "do you like
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your job and do you want to keep it?" Plaintiff, cut the sergeant off in mid-sentence and explained the
grievances written on FSS Graves and that’s why she called him, saying the plaintiff was making her
uncomfortable. Sgt. Cooper, instructed plaintiff to write another grievance. See ex. F

(JCF-2009-1725-17B)

8) On 9/3/20, plaintiff was told by ALL FSS's, that they were no longer able to call plaintiff in for
overtime, since | keep filing grievances on (Graves) and Dir. Coffelt, is the one who verbally issued
this order. Plaintiff tried talking to Dir. Coffelt, who stated, "there's nothing to discuss". See ex. G
(JCF-2009-1797-27B)

9) On 9/3/20, plaintiff filed a complaint to Facility Manager Timothy Schubring, against Coffelt. See ex.
(complaint)

10) On 9/6/20, FSS Woodman, asked plaintiff to ask FSS Graves a question on her behalf. Plaintiff
Respectfully explained that he couldn't, because he wanted to avoid Graves as much as possible.
FSS Woodman, toid FSS Graves, that plaintiff refused to go and ask her the question on her behalf.
FSS Graves, told FSS Woodman to send plaintiff in and issue a Disobeying a Direct Order. However,
second shift officer, Off. Thelan, told the plaintiff at dinner time that he couldn't as not layed in pending
misconduct, because he explained to Woodman that she was not able to issue such an order,
because prisoners are not obligated to relay messages between coworkers. See ex, |
(JCF-2009-1796-17A)

11) On 10/4/20, FSS Graves, filed a negative 363 work evaluation, when one was already assigned to
FSS Rose and gave an above average score, because the plaintiff is a hard worker. Plaintiff, asked
Dir. Amy Coffeit, about this and stated she would look into, but yet signed the bogus evaluation done
by Graves. See ex. J (JCF-2010-1982-17A)

12} On 10/41/20, plaintiff reported to Ofc. Ogunkola, at approximately 415, that he wasn't feeling weil
and had a severe migraine and notify food service supervisor. He called and spoke to Ofc.

Delossantos, who stated that he notified the supervisor.

13) Upon FSS Graves, arriving to work, she noticed plaintiff was not at work and told Ofc.

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Delossantos to call plaintiff in, who was not aware, nor told. When Ofc. Farhat arrived to work as first
shirt regular officer, FSS Graves asked him to issue the plaintiff an out of place misconduct for
refusing to report to work. Ofc. Farhat, told Graves that he was not writing one, because it states that

plaintiff is sick and had an officer notify food service already.

14) On 10/13/20, plaintiff was issued an out of place misconduct by FSS Graves in retaliation for filing
grievances on her. See ex. K (out of place misconduct)

15) On 10/27/20, Hearing Officer Lt. Losacco, who's well aware of issues with FSS Graves, found
plaintiff guilty. See ex. K (Hearing Report).

16) On 10/28/20, plaintiff talked to Warden Nagy and expiained he wasstill being retaliated against by
FSS Graves and his office was well aware, because plaintiff had verbally talked to him, FM Schubring
and grievances that his office has rejected on appeal and nothing is being done about it. Warden
Nagy instructed plaintiff to send him a detail fetter of everything that has transpired. See ex. L
(complaint)

17) 10/4/21, Ofc. Mask, me and shook his head in a | got you way.

+8) While working, plaintiff had a disagreement with a coworker and while plaintiff was telling the
coworker to go into the back with him to go clear it up with the food director, Ofc Mask pushed his
emergency button and plaintiff was corned and handcuffed, taken to segregation and issued a
Threatening Behavior on a prisoner. See ex. M (misconduct)

19} On 10/ /21, plaintiff was found guilty of Threatening Behavior. See ex. N (Hearing Report)

20) On 11/2/21, Ofc. Fridd wrote plaintiff an Out of Place misconduct for using the restroom, not
knowing it was count time. Plaintiff, tried explaining that he was hard of hearing and woke up cut of its
sleep, and the unit did not have a blue light to notify ADA prisoners that it's count. Ofc. Fridd, stated,

“he did not care". See ex. O (Misconduct)

21) On 11/7/21, piaintiff talked to G.C. Cobb on the walkway and asked him why he keep réjecting
valid grievances, he stated, "certain ones | have to and | will deny saying it." | tried explaining that my
health is at risk. He stated, “once again, I'll deny it, but write a grievance on me to try and beat

exhaustion". This statement shows premeditation to hinder the process unavailable. Plaintiff

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submitted a letter to reconsider rejection and to ADW White, to no avail. See ex. P

(JCF-2111-1977-28J)

22) On 11/7/21, Hearing Officer Lt. Losacco, found plaintiff guilty. See ex. Q (hearing report)

23) On 11/17/21, ptaintiff Out of Place misconduct appeal was approved. See ex. R (Appeal)

24) On 11/3/21, plaintiff asked Ofc. Fridd to submit a maintenance request to install a blue light in the

unit to assure it's ADA update if they're going to house hard of prisoners E-unit. Ofc. Fridd, stated,

"maybe you should listen more and you wouldn't be receiving tickets for coming out during count."

see ex. 8 (JCF-2111-1955-17A)}

25) On 11/23/22, approximately 6:20am or so downstairs at the microwave heating up coffee, plaintiff

overheard Ofc. Fridd sitting in the officer hallway talking to Ofc. Poupard. Plaintiff, stated listening

when he heard Ofc. Fridd say, I'm going to make Reyes pay for writing me up and beating a

misconduct he knows he's guilty of’. Plaintiff didn't take the comment serious at first and returned to

its cell for the rest of the morning.

26) Sometimes after 11:30am count cleared, Ofc. Poupard, knocked on the plaintiff cell and ordered

him to step out and patted him down before going into his cell, while plaintiff sat at the table closest to

his cell, who then remembered the conversation he'd overheard that morning and instinctively |
became on guard.

27) Ofc. Poupard, exited plaintiff cell and plaintiff entered his cell hesitantly. As he started
straightening up its property, he noticed some dis-sheived paper in one of its legal folders. As he'd
opened it up to put it back neatly, he felt something hard and yanked his hand back, because it was
unexpected. He reached back inside and felt it again and immediately left the cell.

28) Plaintiff, left the unit since they'd been called for chow, but his main reason was to look for a
sergeant to report what he felt like something was planted in legalwork. There was no sergeant in the
chowhall, so plaintiff lingered outside on the waikway in hope of seeing someone to report-what he'd
believed happened and didn't know when they planned on trying to rediscover it

29) After lingering for several minutes, plaintiff seen FM Schubring slowly coming up the walkway

going toward the control center. When the fast person was finish talking to him, plaintiff asked if he

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could talk to him and explained what he believed happened. He told plaintiff that he would report it to

a sergeant before he leave on his break and to return back to his unit.

30) When plaintiff reached his unit, he immediately called his mother and | asked her to call up here

and email he warden, about what he believe is happening. At this moment, plaintiff noticed Ofc.

Poupard, walking behind to going toward his cell and went inside. Plaintiff then told his mother that he

would call back because he was going to the control center and he might get in trouble.

31) When plaintiff reached the control center, Ofc. Fitzpatrick buzzed him in and stated, "what can |

do for you Mr. Reyes?" Plaintiff explained what he believes happen and she stated she wouid get the

sergeant for him.Sgt. Davidson, then told Ofc. Fitzpatrick that she had to write the plaintiff an out of

place ticket. Hesitantly, Ofc. Fitzpatrick asked plaintiff for its |.D., plaintiff nodded to her and told her to

do what she was told.
32} Sgt. Nevin, came to the window and asked, "how can | help you?" Plaintiff explained everything |
and that he'd talked to FM Schubring and how Poupard was reentering his ceil. Sgt. Nevin, stated, 2
“I'm the one who told Poupard to go to your cell after Schubring told me what happened". Outside of

frustration, plaintiff asked, “why in the hell did you send him back to my cell, when he's the one |

believe planted something in there and Ofc. Fridd, behalf?"

33) Sgt. Nevin, told plaintiff, "to my defense, | wasn't told what officer was supposed

ta planted something, so | told Poupard to go check it out. You don't have anything to worry about, so

return to your until and I'll take care of it.”

34) When the plaintiff returned to his unit, he notice a long metal rod on the officer desk and Ofc.

Poupard, was on the phone. Plaintiff immediately went and got on the phone and call his mother and

told her everything that has happened since they'd lasted talked and didn't know how this was going

Play out
35) At approximately 1:30pm. Ofc. Fridd, called the plaintiff to report to the officers desk and handed
Him a contraband removal slip. As he was handing it to the plantiff, he had a smirk on his face and

Stated, “find a better hiding place and by the way, you're on top lock". See ex. T (contraband removal)
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36) Plaintiff, was given a possession of a weapon misconduct. See ex. U (misconduct)

37) Plaintiff wrote a grievance on Ofc. Fridd, overhearing him talking to Ofc. Poupard, about how he
was going to make Reyes pay. See ex. V (goldenrod copy)(plaintiff is missing
paperwork/legalwork/grievances/exhibits)

38} Plaintiff wrote a grievance on Ofc. Poupard, for planting a metal rod inhis area of control in
retaliation to help Ofc. Fridd, to get back at plaintiff for writing grievance and beating his ticket. See
ex.W (goldenrod copies, due to missing paperwork/legalwork/grievances/exhibits)

39) On 11/24/21, plaintiff reported to the officer desk to report to a mandatory medical provider
appcintment, in which he was refused by Ofc.Fridd, when he was told plaintiff could go to medical call
outs. See ex. X (goldenrod copy)(plaintiff is missing paperwork/legalwork/grievances/exhibits)

40) Date unknown at this time, but because we were in covid protocols, plaintiff was called to the
prison counselors office to give a statement to Hearing Investigator Austin via video zoom. As plaintiff
was given its statement, H/l Austin, stopped the plaintiff and asked, "so, you're telling me that you
reported to FM Schubring that you believe there's something in your area of control that you're for
certain shouldn't be there. Ptaintiff responded, “yes, ma,am," and went on to explain what he heard
that morning of over hearing Ofc. Fridd, statinghe was going to make plaintiff pay.

41) Hit Austin, stated, “what the fuck, they tei! you it's your responsibility to check your area of control
and report it and as soon as you do, they write a f---ing ticket". H/I Austin, postponed the investigation
and stated, "I’m going to the ADW and request that this ticket get pulled and if needed, I'll go to the
warden”.

42) Plaintiff is not for certain if it was the same day or the next, but H/l Austin, reconvene the
investigation and stated that the ADW told her that the plaintiff had to go through the hearing process
and told her she couldn't go to the warden about this. She also stated that she didn’t know what the
issue was, but she'd done this before without any problems. .

43) On 11/30/21, plaintiff was found guilty of possession of a weapon misconduct. Hearing Officer
Sutherland, abused its authority, stating, “it is not credible to believe that Officer Poupard, would

agree to set up an inmate he had no issue with". The same thing could be stated for the plaintiff, there
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is no credible evidence that plaintiff would set up an officer he had no issues with.
44) On 12/18/21, plaintiff filed an appeal to the Hearing Division, which was rejected on 4/22/22.
Plaintiff, also filed a Judicial Review, which was dwarfed due to incident that transpired in paragraph

50-54. See ex. Z (Appeais rejected)

45) On 4/9/22, plaintiff received an Insolence misconduct by FSS Anson. Upon misconduct review, :
Sgt. St. Charies, took it upon himself and added a Sexual misconduct charge, in which plaintiff
explained that he's not allowed to do so and only retaliating for all the issues plaintiff has complained
about over the years. See ex. A (misconduct)

46) On 4/19/22, H/O Sutherland, abused its authority, by creating a frictional bias picture, instead of
following policy for a guilty finding, H/O, used its own opinion,

47) On 5/8/22, plaintiff received a substance abuse misconduct (marijuana, for urine sample

reportedly positive}. See ex. CC (miscanduct)

48) On 3/11/22, plaintiff filed an Appeal to the Hearing Division for Sexual misconduct. See ex. DD
(Rehearing rejection)

49) On 5/17/22, H/O Sutherland, abused its authority whe finding the plaintiff guilty of substance
abuse misconduct by falsely stating that plaintiff argument is a grievance issue not an Hearing issue.
See ex. EE (hearing report)

50) On 6/21/22, plaintiff asked Ofc. Keiser, to call a PC or the RUM in another unit, because of a
deadline to file a judicial review for a substance abuse and possession of a weapon misconduct. Ofc.
Keiser, stated, "no, now go away" Plaintiff grabbed a scrap piece of paper off the officer desk and
wrote the officer name down and the time and told Ofc. Keiser, that he was writing him up. In which,
he replied, “| don't care". See ex. (JCF/2206/1243/28B)

51) Plaintiff was in his cell looking out the window in hope of seeing a PC or RUM. While waiting, he
noticed PC Crowley approaching the unit and going through B-unit side. Plaintiff grabbed his
legalwork and went and stood by the water fountain, where prisoners is allowed to stand when waiting

to see the counselor. When plaintiff got Crowley attention and waved his legalwork, Crowley put up a
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finger, meaning give me a minute.
52} At this time, Ofc. Keiser stated, “what are you doing?" Plaintiff stated, "I'm waiting for the
counselor, he said to give him a second”. Ofc. Keiser stated, "I said there is no ARUS, now go away".

At this moment, PC Crowley, told the plaintiff to come into his office.

53) While plaintiff was explaining the importance of getting these legal mait processed, because of the
Mailbox rule, which was for this date, he believed. Ofc. Keiser, came barging toward the doorway
yelling, “| told you there is no ARUS, so go lock down". Plaintiff, turned to PC Crowley, and stated,
"how is he going to say there is no ARUS, when you're sitting right there? I'm not on sanction, so he
can't make me lock down". At this moment, PC Crowley started yelling at plaintiff to get the hell out of

his office. And refused to allow plaintiff to mait his legal mail out.

54) Plaintiff walked passed Ofc. Keiser, and went to his cel. Once at his cell he felt someone behind
him and Ofc. Keiser was yelling at him, "next time | tell you there is no ARUS, that means there is
none", Piaintiff, stated back, “when there's one in his office, that means there is one. Don't worry
about it, I'm writing both of you up”. At this time several officers came into the unit and told me to
handcuff, Ofc. Keiser, tried to say Plaintiff threatened him, but when leaving the unit, another officer
stated he wasn't going to allow him to write a threaten behavior ticket.

95) Ofc. Keiser wrote plaintiff a disobeying a direct order, which was elevated to a class |. See ex, FF
(misconduct)

56) Plaintiff wrote a grievance on Keiser for writing a misconduct in retaliation for telling him he was
writing a grievance on him. See ex. GG (JCF-2206-1242-27A)

97) On 6/22/22, plaintiff asked Ofc. Mosley to calla PC or RUM, because he needed te file two
juridical reviews immediately, because PC Crowley wouidn't let him mail them out the day before. Ofc.
Mosley refused by saying, "no, no, no, you got into it with that level four officer. I'm not getting
involved". Plaintiff stated, "what do that has to do with me trying to mail it out today?” He refused and

walked away. See ex. HH (JCF-2206-1257-28B)

58) On 6/23/22, plaintiff wrote the warden Administrative Assistant Napier, concerning the rejection of

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grievances by GC Cobb, and his continuous disregard to the process. See ex. II (letter to Napier)

59) On 6/24/22, plaintiff told PC Crowley, that he was hindering from filing a timely Judicial Review by
not getting letting him mail it out on 6/21/22 and siding with Ofc. Keiser. At that moment he told the
plaintiff to grab it and mailed it out. See ex. JJ (expedited legal disbursement)

60) On 6-23-22, plaintiff was found guilty of the DDO misconduct. See ex. KK (Hearing Report)

61) On 7/12/22, plaintiff filed an appeal to the day Hearing Division, concerning the DDO misconduct,
which was rejected 9/1/22. See ex. LL (appeals rejection)

62) In October of 2022, plaintiff injured his ankle coming down the steps in the unit and asked the
officer to call health care, because his ankle became discolorated, swollen and in pain. RN Salazar
stated it was just a sprain and plaintiff tried explaining it felt like it was broken or fractured.

63) On 11/9/22, plaintiff asked Ofc. Mosley to call Health Service because he was in severe pain due
to his ankle injury. RN Jane Doe, stated to this officer that he could not come over under RN Landfair
authority. Plaintiff asked the officer, what did that mean and if he could talk to her. She stated no and
to submit a kite. See ex. MM JCF-2211-2377-281)

64) On 11/10/22, plaintiff asked Ofc. Ojeda, to call Health Service, for being in pain and no one has
called him out for a followup, concerning his ankle injury. RN Jane Doe, stated to this officer, “if he's
not dying or bleeding he can't come over, this is also under HUM Landfair direction." | asked to speak
to her on the phone. The officer asked and she said no and to put in a kite. See ex. NN
(JCF-2211-2378-281)

65) Over the course of days and weeks, plaintiff submitted multiple kites, asking why hasn't a follow
up been done, to no avail.

66) On 11/23/22, or approximately, plaintiff told RN Landfair, that he was in severe pain and needed a

xray on his ankle because it's not sprained, it's broken. Her response, you're be seen when we get the

time.

67} On 12/8/22, plaintiff talked to RN Salazar and RN Landfair, on the walkway separately, in front of

neaith care and told them that he needed to be seen immediately, because he was in severe pain and
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it's not just sprained as RN Salazar, tried to say it was. Plaintiff works in Food Service, which is how
he was able to see these Nurses/HUM,'and with officer permission was able to go out to talk to them,
because he was also forced to work, because they wouldn't issue a no work detail. See ex. MM (two
Goldenrod copy, because GC Cobb, refused to process grievance.

68) On 12/ /22, plaintiff wrote a grievance on GC Cobb, for retaliation for dereliction of duty, in
retaliation of filing complaints and grievances on his and coworkers. See ex. NN (goldenrod, GC Cobb
refuse to process}

69) On 12/20/22, plaintiff sent Warden Nagy a complaint letter on GC Cobb for refusing to send four
step II grievance forms and not processing four different grievances: two on health care and RN
Landfair, one on GC Cobb and one on food director. He still refuse to send them after this complaint.
See ex. NN (compiaint)

69) On 1/2/23, plaintiff sent a complaint letter to MDOC Karmen Bussell, RN, against HUM, RN Sirena
Landfair and JCF Health Service staff, for refusing to see me and treat me for the pain. See ex. OO
(complaint)

70) On 1/3/23, plaintiff was on the callout to see the nurse, but only to retrieve their Ace Bandage. So,
plaintiff asked the nurse how are you going to take the wrap and the ankle is still swollen,
discolorated, and in pain. The nurse assessed plaintiff and stated to report it. See ex. PP (clinical
encounter)

71) Plaintiff called his mother to contact Warden Nagy, whe responded back that he would look into it.
Hours later, plaintiff was called to Health Service and was assessed by a doctor. See ex. QQ
(Administrative Note)

72) On 3/2/23, plaintiff went off site to Duane Water for X-ray of its ankle. Plaintiff was told that he'd
suffered a fracture and is scheduled to see a specialist.

73) On 2/3/23, plaintiff sent another complaint letter to MDOC Karmen Bussell, RN, on RN Landfair,

Health Service staff, for refusing to treat pain. See ex. RR (Jpay letter)

74) On 1/17/23, plaintiff was at a Hearing for a substance abuse misconduct,and it was determined by

the ALJ that Sgt. Holzschu, falsified a state document, in which plaintiff is entitle for file a grievance
Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.15 Filed 05/10/24 Page 15 of 100

once he become aware of a violation. See ex. SS (JCF-2301-0193-27A)

75) In March of 2023, plaintiff had surgery on his right shoulder. During is April of 2023, followup
plaintiff was told by the surgeon, "if you're in any pain or discomfort after six weeks to immediately
notice health service sol can go back to him.

76) Everyday the plaintiff was in pain and in discomfort, toughen it out until the beginning if May of
2023. Plaintiff, has submitted kites, which wasn't getting answered.

77) On 5/8/23, plaintiff spoke to RN Landfair, on the walkway in front of. Health Service, and told her
that health service isn't answering his kites and he's in severe pain and the surgeon said to
immediately notify health care and to contact him. This was not done, nor was plaintiff seen, or
treated for pain. See ex. TT (Goldenrod, GC Cobb refuse to process)

78) On 5/10/23, plaintiff talked to RN Baker and explained that he was in pain more after his surgery
than before. She stated she would see if provider would call me out asap. No one called the plaintiff

out.

79) On 5/11/23 piaintiff talked to RN Salazar, about his shoulder being severe pain and he'd had

surgery on it several months ago and he tell the plaintiff to send a kite. See ex. UU (Goldenrod of

grievance because GC Cobb, refuse to process)

80} On 5/12/23, plaintiff talked to HUM RN Landfair, on the walkway in front of health care and
explained that he has not been seen for his pain he's experiencing in the shoulder he'd recently had
surgery on. Landiair stated I'll be seen when seen. See ex. VV (Goldenrod, because GC Cobb
refuses to process)

81) On 5/24/23, after trying to resolve this issue with RN Landfair and Salazar, plaintiff continuously

being in pain after one last time of trying to resolve this issue. See ex. WW (JCF-2023-06-1032-12E1)

82) on 6/6/23, plaintiff submitted a grievance on RN Landfair and MD Jamsen, for delaying and

refusing to treat plaintiff, provide medication and send back to surgeon. See ex. XX

(JCF-2023-06-1104-12D1)

Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.16 Filed 05/10/24 Page 16 of 100

83) On 5/26/23, plaintiff mailed out an letter to GC Cobb, conceming grievance JCF-2306-1032-12E1,
property. See ex. YY (disbursement form)

84) On 7/9/23, plaintiff submitted a letter to GC Cobb, inquiring about why he hasn't received an step
Il form for JCF-2306-1032-12E1. See ex. ZZ (letter to Cobb and ex. AAA (disbursement form)

85) On 7/18/23, submitted a letter to GC Cobb about stil not receiving step il forms for grievances, .
nor receipt for grievances written on RN Florek and RN Hollister, and Wellpath for falsifying
documents, and delaying treatment. See ex. BBB (letter to Cobb) and ex. CCC (disbursement)

86) On 1/17/23, it was founded that Sgt. Holzschu, lied and falsified a state document. See ex. GGG
(JCF-2301-01993-27A)

““RELIEF SOUGHT***

87) The plaintiff, incorporates and adopt by reference paragraph (1) thraugh (86) herein.

88) The plaintiff, has no plain, adequate or complete remedy at law to redress the wrongs he'd
suffered as a result of the defendants actions. Therefore, the plaintiff, Tyrone L. Reyes, will continue to
be irreparably | injured by the defendants acts and/or omission, unless the, courts grants him the
following relief:

89) On 1/17/23, it was founded that Sgt. Holzschu, lied and falsified a state document. See ex. GGG
(JCF-2301-01993-27A)

A) Wherefore, the plaintiff, Tyrone L. Reyes, respectfully ask that this Honorable Court, grants him the
following relief and any additional relief, this court deems just, proper, and adequate under the
circumstances of this case.

B) Defendant Sirena Landfair, RN, did denied and delayed plaintiff medical treatment, by being
"Deliberately Indifference”: Count One (11/23/22): Count Two(12/8/22}. Count Three(5/8/23); Count
Four (5/12/23), Count Five(5/24/23); and Count Six(6/6/23). Plaintiff asks the Court to grant relief in

monetary damages $50,000.00 for each count and training.
C) Defendant Mandy Hollister, RN, did deny due process, delay treatment and falsified state
documents. Count One (7/9/23); and Count Two (7/18/23). Plaintiff asks the Court to grant relief in

Monetary damages $25.000.00 for each count and review of falsifying state documents for discipline.
Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.17 Filed 05/10/24 Page 17 of 100

D) Defendant John Salazar, RN, did deny and delayed plaintiff medical treatment, by being
“Deliberately Indifference”: Count One(12/8/22); Count Two(5/11/23); and Count Three(5/24/23).
Plaintiff asks the Court to grant relief in monetary damages for $50,000.00 for each count and
training.

E) Defendant Alinda Florek, RN, did deny due process, delay treatment and falsified state documents:
Count One(7/9/23); and Count Two(7/18/23). Plaintiff asks the Court to grant relief in monetary
damages for $25.000.00 for each count and review of falsifying state documents for discipline.

F) Defendant Charles Jamsen, MD, did deny and delayed plaintiff medical treatment by being
“Deliberately Indifference”. Count One (6/6/23). Plaintiff asks the Court to grant relief in monetary
Damages for $250.000.00.

G) Defendant Amy Coffelt, FO, did retaliate against plaintiff. Count One (9/3/20), Plaintiff asks the
Court to grant relief in monetary damages for $100.000.00, receive further training and demoted.

H)} Defendant Hirth, was deliberately indifference and retaliated against plaintiff, Count One &
Two(8-13/20)}. Plaintiff asks the Court to grant relief in monetary damages for $5,000.00 each.

|) Defendant Graves, was deliberately indifference and retaliated against plaintiff. Count One and
Two(8/13/20), plaintiff asks the Court to grant relief in monetary damages for $5,000.00 each; Count
Three(8/15/20), $50,000.00. Count four(8/30/20}, $50,000.00; CountFive(9/6/20), $100,000.00; Count
Six(10/4/20), $150,000.00; and Count Seven(10/1 1/20}, $250,000.00.

J} Defendant Keiser, Ofc., denied access to the Court, and retaliated against plaintiff. Count One &
Two(6/2 1/22) plaintiff asks the Court to grant relief in monetary damages for $25,000.00 for each
count.

K) Defendant Fridd, Ofc., violated plaintiff ADA rights, deliberately indifference, conspiracy, and
retaiiated against plaintiff. Plaintiff asks the Court to grant relief in monetary damages for $10,000.00,
Count One(4 1/2/21); $10,000.00, for Count Two( 11/3/21}; $250,000.00, for Count Three(141/23/21);
$100,000.00, for Count Four(11/23/21); $50,000.00 for Count Five(11/24/21); and faces disciplinary

action.

L) Defendant Poupard, Ofc. wilfully conspired and retaliated against plaintiff. Plaintiff asks the Court to

Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.18 Filed 05/10/24 Page 18 of 100

| grant relief in monetary damages for $100,000.00, Count One(1 1/23/21); $250,000.00 for Count
Two(1 1/23/21); and face disciplinary action.

M) Defendant Holzschu, Sgt., wilfully violated plaintiff due process and falsified state documents.
Plaintiff asks the Court to grant relief in monetary damages for $10,000.00 Count One(1/17/23):
$50,000.00 Count Two(1/17/23); and face disciptinary actions for demotion and possible employment
termination.

N) Defendant Cobb, GC., wilfully violated plaintiff rights, being deliberately indifference, due process

violation and conspiracy. Plaintiff asks the Court to grant relief in monetary damages for $10,000.00,

/22). written in retaliation or written in the form of being treated differently by blatantly violating plaintiff
due process and blatantly violating policy.

P} Review and implement changes to MDOC Policy Directive 03.03.130, Grievance Policy. Plaintiff
proposes that MDOC allow prisoners to file grievances on Jpay, this would eliminate grievance
coordinators saying they never received it or it's untimely. This will aisosave the Courts time in
determining these exhaustion claims always used by the Defendant's in opposition of certain claims.

For Count One, Two, and Three each(1 1/4/21); and $50,000.00 for Count One, Two, and Three(12/
Q) issue further relief and declaratory ruling as this court sees fit.
|

R) Defendant Sutherland, Hearing Officer, wilfully and knowing violated Plaintiff Due Process Rights.

Plaintiff asks the court for injunctive release and monetary damages for $50, 000 and face judicial

review of conduct with disciplinary action.

S$) Defendant St. Charles, Sgt., wilfully and knowingly violated plaintiff First Amendment and Due
Process Rights. Plaintiff asks the Court to grant relief in monetary damages and injunctive relief, face

disciplinary action by termination.
Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.19 Filed 05/10/24 Page 19 of 100

“*CERTIFICATION and CLOSING***

Under Federal Rule of Civil Procedure 11, by signing below, | certify to the best of
my knowledge, information, and belief that this complaint: (1) is not being presented
for an improper purpose, such as to harass, cause unnecessary delay, or needlessly
increase the cost of litigation: (2) is supported by existing law or by a nonfrivolous
argument for extending, modifying, or reversing existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or
discovery; (4) the complaint otherwise complies with the requirements of Rule 11.

| agree to provide the Clerk's Office with any changes to my address where case
related papers may be served. | understand that my failure to keep a current address
on file with the Clerk's Office may result in the dismissal of my case.

Date of Signing: May 1th 2024

Signature of Plaintiff Q NG Ng 2.8, \ cyl Ste>

Signed by plaintiff Power of At@rney Marjorie Toins

Printed Name of Plaintiff: Tyrone L. Reyes
Prison identification #: 266511

Prison Address: Thumb Correctional Facility
3225 John Conley Dr.

Lapeer, Mi. 48446

To: Clerk of the Court
From: Marjorie Toins

Date: Mayo" 2924

ee Case 2:24-cv-11243-GAD-Cl

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copies of each page ‘and supporting documents must be submitted with this form. The grievance must be submitted:

to the Grievance Coordipiator in accordance with the time limits of OP 03.02.130. tls hi. rin hes id Me $6
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RESPONSE (Grievant Interviewed? Tien If No, give explanation. If resdlved, expidiiy’ exalintie

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Respondent’s Name ( Tint)

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Grievant: Oe [i Zt pt Resolution must be described above. Giievant’s Signature em Daten

Reviewer's = Name. (Print)

DISTRIBUTION: White, Green, Canary; Pink — Process to Step One Goldenrod — Grievant

Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.21 Filed 05/10/24 Page 21 of 100 |

CHIGAN DEPARTMENT OF . . osiksh Boo
ORRECTIONS ,

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STEP I GRIEVANCE RESPONSE SUPPLEMENTAL FORM
(Use if space on the CSJ-247A4 is insufficient for a full response by stating on the CSJ-247A “See attached CSJ-2478")

JCF-20-08-1 640-172

Click or tap-to enter a date,
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Reyes had been Called ir in to do OT o on m days shift. His normal shift. is scheduled for second shift which starts at aprox ‘1130hrs on this

peerticular day, Reyes was instructed to goto work on the line and he refused. He was sent in. looked over sign in sheet to varify being
sent in.

"APPLICABLE PQLICY, PROCEDURE, ETC: 5

Orentation manual: Positions and job duties Rules section

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Grievance denied. {" You may not refuse to perform any food service related task on the basis of “its not my Job". Asitwas your; :| + —
regular job assignment you were refusing to do your assigned job duties. When you didn't get the response out of one food steward

you went to another, with the same outcom. You then wrote a dupliacate grievance on the other food steward for the same instances.
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Distribution: Original - Step I Grievance ‘Coordinator® ~~ Copies — 3 To Grievant Prisoner Copy; 1 for Step II filing; 1 for Step IM filing)

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Case 2:24-cv-11243-GAD-CI ECF No. 1, PagelD.22

MICHIGAN DEPARTMENT OF CORRECTIONS
PRISONER/PAROLEE GRIEVANCE APPEAL FORM

Filed 05/10/24 Page 22 of 100

4835-4248 5/09
CS)-247B

Grievance Identifier: ERCOY | HDI Je |

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at Step IT:

Date Received d
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INSTRUCTIONS: mid FORM IS ONLY TO BE USED TO APPEAL A STEP I CR RACETVED
The white copy of the Prisoner/Parolee Grievance Form CS)-247A (or the goldenrod copy if

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copy of this form if you appeal it at both Step

OCT 27 2020

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© by “~4 NADU it is not submitted by this date, it willbe cons! ered terminated.

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If you should decide to appeal the response you receive at Step IT, you shou

Office, P.O. Box 30003, Lansing, Michigan, 48909,

Id send your Step II Appeal to the Director's

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STEP II — Reason for Appeal + pode, Onis Arcos “* Pacey SeSpondent ‘Ss Be 28¢, 40
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STEP II — Response

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Respondent's Signature

Respondent’s Name (Print)

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STEP III — Reason for Appeal He — Ce Soon os | mG did fat
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NOTE: Only a copy of this appeal and the response will be returned to you.

STEP III — Director’s Response is attached as a separate sheet.

DISTRIBUTION: White ~ Process to Step Ill; Green, Canary, Pink - Process to Step I]; Goldenred - Grievant

Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.23 Filed 05/10/24 Page 23 of 100

STATE OF MICHIGAN
GRETCHEN WHITER DEPARTMENT OF CORRECTIONS —_ HEIDI E. WASHINGTON
GOVERNOR

STEP [I GRIEVANCE DECISION
Rec #: 121276

172

To Prisoner: Reyes #: 266511 U, - U7\5

Current Facility: [ARE
Grievance Identifier: JCF-20-08- 1640-172
Step II] Received: 10/27/2020

Your Step Ill appeal has been reviewed and considered by the Gnevance Section of the Office
of Legal Affairs in accordance with PD 03.02.130, "Prisoner/Parolee Grievances". Upon
examination it has been determined that your issue was in fact considered, investigated, and a
proper decision was rendered.

THE STEP II APPEAL JS DENIED.

THIS DECISION CANNOT BE APPEALED WITHIN THE DEPARTMENT.

Sthantll Date Mailed: JAN 97 2021

Richard D. Russell, Manager Grievance
Section, Office of Legal Affairs

ce: Warden, Filing Facility: J CY

GRANDVIEW PLAZA+ P.O. BOX 30003 - LANSING, MICHIGAN 48909
=... Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.24 Filed 05/10/24

A Page 24 of 100 Fy’ 2

MICHIGAN DEPARTMENT OF CORRECTIONS ‘ 4835-4247 10/94
‘PRISONER/PAROLEE GRIEVANCE FORM CSI-2478

Date Received at Step I & 2 “ned \ yu Grievance Identifier:

Name (print first, last) | Institution Lock Number Date of Incident

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If none, explain why. wee WE A te RPS Soe ge
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State problem clearly. Use separate g grievance form for each issue. Additional pages, using plain paper, may y be used.

Four copies of each page and supporting documents must be submitted with this form. The grievance must be submitted
to the Grievance Coordinator in accordance with the’time limits of OP 03.02.130. F Is

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RESPONSE (Grievant Interviewed? LI yes Ane If No, give explanation. If resolved, explain resolution.)

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Working Title Vy

Date Retume ' If resolved at Step I, Grievant sign here.
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Resolution must be described above.

Respondent nt’s Name Peta

Reviewer’s Name (Print)

Grievant’s Signature
DISTRIBUTION: White, Green, Canary, Pink —- Process to Step One; Goldenrod — Grievant

Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.25 Filed 05/10/24 Page 25 of 100 me
~ “ : -
MICHIGAN DEPARTMENT OF CSJ-2478 3/18/2019
CORRECTIONS a

STEP I GRIEVANCE RESPONSE SUPPLEMENTAL FORM .
(Use if space on the CSJ-247A is insufficient for @ full response by stating:on the CSJ-247A "See attached CS-2478")

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JCF-20-08-1637-17Z

description allowed response from record.

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regular job assignment you were refusing to do your assigned job duties. When you didn't get the response out of one food steward

you went to another with the same outcom. You then wrote a dupliacate grievance on the other food steward for the same instances
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Distribution: Original - Step Grievance Coorditiator

“Copies — 3 To Grievant (1 Prisoner Copy; 1 for Step II filing; 1 for Step III filing)

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Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.26 Filed 05/10/24 Page 26 of 100 !

Step If Grievance Appeal Response JCF-2020-08-1637-17Z
Name: Reyes Number: 26651] Lock: (C76

Summary of Step I Complaint:

Grievant states Food Service Supervisor (FSS) Graves asked him to get on the service line when he was not
feeling well and needed a minute to see if it’! (sic) blow over. FSS Graves failure to be prepared led her to tell
me to get on the line and being deliberate indifference to my medical need. FSS Graves said FSS Hirth told me

to get on the line.
Summary of Step I Response:

The Step I Response indicates Grievant was called in to do overtime on day shift. Grievant normal shift is
second shift which starts at approx. 113Q0hrs. Grievant was instructed to go to work on the line and he refused.
Grievant was sent in from work.

Summary of Reason for Appeal:

Grievant reiterates Step | complaint.

Summary of Step II Investigation:

Upon review of the Step I grievance, Step HI grievance appeal form and investigative information, step I

response was appropnate. There is no policy violation of PD 03.03.130 Human Treatment and Living
Conditions for Prisoners.

Conclusion:

Grievance is denied in accordance with PD 03.02. 130 Pnsoner/Parolee Grievances.

Based on the above, your grievance is considered Denied at Step II.

Noah Nagy, Warden Lhe Gon, 2/o/ ole
LEY |}

Respondent’s Name (Print) Respondent’ yMyhature € Date

Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.27 Filed 05/10/24 Page 27 of 100

JEPARTMENT OF CORRECTIONS 4835-4248 5/09
NER/PAROLEE GRIEVANCE APPEAL FORM CS3-2478

Received by. Grieyance Coordinator Grievance reenter! HAIACOS \ | lo A (.) To |

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ZNSTRUCTIONS: THIS FORM IS ONLY TO BE USED TO APPEAL A STEP I GRIEVANCE.
The white copy of the Prisoner/Parolee Grievance Form CSJ-247A (or the-goidenrod copy if you Rave not been provided

with a Step i response in a timely manner) MUST be attached to the w iteRBA\EOW this foMP You lappeal it at both Step
Il and Step [II.

| oct 27 2020

If you Ce cide to appeal the om rieyance response to Step II, your appeal should be directed to:
. by lod / Tf it is not submitted by fthis dateedavinBeitongidered terminated.

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If you should decide to appeal the response you receive at Step II, you should send your Step III Appeal to the Director’s
Office, P.O. Box 30003, Lansing, Michigan, 48909.

Name (Print first, last) Number Institution Lock Number | Date of Incident | Today’s Date

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STEP II — Response Date Received by

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STEP III — Reason for Appeal >7++ ¢ AL. fess wy! dere NN w is yt VANE sky oF Hos
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NOTE: Only a copy of this appeal and the response will be returned to you.

STEP III — Director’s Response is attached as a separate sheet.

DISTRIBUTION: White - Process to Step III; Green, Canary, Pink — Process to Step II; Goldenrod ~ Grievant
Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.28 Filed 05/10/24 Page 28 of 100

STATE OF MICHIGAN
GRETCHEN WHITMER DEPARTMENT OF CORRECTIONS —_ HEIDI E. WASHINGTON
GOVERNOR
LANSING DIRECTOR

STEP 1] GRIEVANCE DECISION
Rec #: 121275

172

To Prisoner: Reyes #: 266511 Ly _ WW
Current Facility: rear

Grievance Identifier: JCF-20-08-1637-17Z

Step I] Received: 10/27/2020

Your Step II appeal has been reviewed and considered by the Grievance Section of the Office
of Legal Affairs in accordance with PD 03.02.1390, "Prisoner/Parolee Grievances", Upon
examination it has been determined that your issue was in fact considered, investigated, and a

proper decision was rendered.

THE STEP Ui APPEAL IS DENIED.

THIS DECISION CANNOT BE APPEALED WITHIN THE DEPARTMENT.

Athiwti! Date Mailed: JAN 07 202i

Richard D, Russell, Manager Grievance
Section, Office of Legal Affairs

cc: Warden, Filing Facility: “) C_¥

GRANDVIEW PLAZA~ P.O. BOX 30003 » LANSING, MICHIGAN 48909
_ Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.29 Filed 05/10/24 . Page 29 of 1Q@0 ea pte

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MICHIGAN DEPARTMENT OF CORRECTIONS
-PRISONER/PAROLEE GRIEVANCE FORM

BAC

4835-4247" 10/04
CSJ-247A

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Date Received at Step I" \ a y 4/1, Grievance Identifier: t cf Devs! tia D Elita J

Name (print first, last) e Institution | Lock Number

Date of Incident] Today’s Date

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What attempt did you make to resolve this issue prior to writing this grievance? On what date? g-1 eX
If none, explam why. “L. ¢Mied Cescny, MO, “ky, SVS SUC.
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= State problem clearly. Use s separate grievance form for each issue. Additional j pages, using plain paper, may be used.

* Four copies of each page and supporting documents must be submitted with this form. The grievance must be submitted
fi .to the Grievance Coordinator in accordance with the time limits of OP 03.02.130. ee es Ore Oden te ot

Appr AAMAS oe ad LAD. Awe Ae pl B0tng my oy

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RESPONSE (Grievant Interviewed? - L) Yes © Glo If No, give explanation: If resolved, explain résolution:) peel,

‘Reviewer 8 sgt “

Date /
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Working Ti Reviewer's Name (Print) Working Title oo
Date Returned to { If resolved at Step I, Grievant sign here .
: . ; / . ,
Gn evant: ot i ql v Resolution must be described above. Grievant's Signature =

Date

DISTRIBUTION: White, Green, Canary, Pink — Process to Step One; Goldenrod — Grievant

Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.30 Filed 05/10/24 Page 30 of 100

Step II Grievance Appeal Response JCF-2020-08-1658-17B
Name: Reyes Number: 266511 C76

Summary of Step I Complaint:

Grievant stated on 8/15/20 he asked Food Service Supervisor Graves to call in prisoner Card to help on the line

and FSS Graves said no sating she is not going to help me when I’d wrote her up. Meaning and referring to a
Grievance I wrote on 8/13/20,

Summary of Step I Response:

The Step I response indicates there was enough workers to run the line without calling in more workers. FSS

Graves would not have known about the other Grievance and Grievance coordinator did not receive it urttil
8/14/20 and I did not receive it until 8/17/20.

Summary of Reason for Appeal:

Grievant reiterates Step I complaint.

Summary of Step II Investigation:

Upon review of the Step I grievance, Step II grievance appeal form and investigative information, Step I
response 1s appropriate. There is no policy violation PD 03.03.130 Humane Treatment and Living Conditions.

Conclusion:

Therefore, grievance is denied in accordance with PD 03.02.130 Prisoner/Parolee Grievances.

Based on the above. your grievance js considered Denied at Step IE.
Noah Nagy, Warden Ll F*,

[OL (O(FAOE
Respondent’s Name (Print) Respondent's S)6Aature C Ddte

7 Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.31 Filed-05/14M24 Page 31 of 100

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7 MICHIGAN DEPARTMENT OF CSI-2478 3/18/2019
CORRECTIONS

STEP I GRIEVANCE RESPONSE SUPPLEMENTAL FORM
(Use if space on the CSJ-247A is insufficient for a full response by stating on the CSJ-247A “See attached CSJ-247S")

2665 1 \ JCF/C-76 JCF-20-08-1658-17B.

Prisoner description allowed response from record.

“Tried to p get Food Stewards to call in another line lead but itthey would not.

IGATION SUMMARY:

“Reyes: 26651 1 requested to have another | line lead called in. Upon looking at the sign in 1 sheet from that day there were indeed enough

‘workers to run the line without calling in anymore workers. Ms. Graves could not have known about the other Grievances as I A.
Coffelt

‘Orentation manual: Positions and job duties Rules section

See . : ' , . vores konse life. Me ae vt gb

“DECISION SUMMARY: _ . Oe

| Ms. Graves could not have known about the other Grievances. Grievance counsler received it 0 on 1 Friday 08.14.2020. I, A. Coffelt

did not even receive them until] Monday 08.17.2020 as they were put in my mailbox on Friday 08.14.2020 after I had already checked
the mail for the day. Ms Graves did not work on 08.18 and 08.19, Therefore this grievance is denied.

ie i : : . 1

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FSD

: A Coffelt

= 8/31/2020
TLE: CFM

DATE: » Click or tap to enter a date. ef

be

Distribution: Original - Step I Grievance Coordinator ~ Copies ~ 3 To Grievant (1 Prisoner Copy; 1 for Step II filing; L for Step it fi ‘law

Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.32 Filed 05/10/24 Page 32 of 100

MICHIGAN DEPARTMENT OF CORRECTIONS 4835-4248 5/09
PRISONER/PAROLEE GRIEVANCE APPEAL FORM 51-2478
Date Received by Grigvan ordinator Grievance waeniner: LCE BOC | bs $\) ih
at Step II: OF a SAS

INSTRUCTIONS: THIS FORM IS ONLY TO BE USED TO APPEAL A STEP i GRIEVANCE.

The white copy of the Prisoner/Parolee Grievance Form C5]-247A (or the gold co Mee MeO een provided

with a Step I response in a timely manner) MUST be attached to the white copy : ppeal it at both Step
ocy 27 2020 |

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If you Pome to appeal the v AS ce response to Step Il, your app
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1f you should decide to appeal the response you receive at Step Il, you should send your Step III Appeal to the Director’s
Office, P.O. Box 30003, Lansing, Michigan, 48909.

iwuppabatéaerel terminated.

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NOTE: Only a copy of this appeal and the response will be returned to you.

STEP III — Director’s Response is attached as a separate sheet.

DISTRIBUTION: White - Process to Step III; Green, Canary, Pink - Process to Step II; Goldenrod - Grievant
Case 2:24-cv-11 -
243-GAD-CI ECF No. 1, PagelD.33 Filed 05/10/24 Page 33 of 100

STATE OF MICHIGAN

CRETE DEPARTMENT OF CORRECTIONS HEIDI E. WASHINGTON
° LANSING DIRECTOR

STEP Ill GRIEVANCE DECISION

Rec #: 121272
178
To Prisoner: Reyes #: 266511
Current Facility: MEF ly Uy 7 2
Grievance Identifier: JCE-20-08-1658-17B .
Step II Received: 10/27/2020

Your Step II appeal has been reviewed and considered by the Grievance Section of the Office
of Legal Affairs in accordance with PD 03 02.130, "Prisoner/Parolee Grievances”. Upon
examination it has been determined that your issue was in fact considered, investigated, and a
proper decision was rendered.

THE STEP II APPEAL 1S DENIED.

THIS DECISION CANNOT BE APPEALED WITHIN THE DEPARTMENT.

fAihinltl! Date Mailed: JAN 0.7 202%

ST PLE
Richard D. Russell, Manager Grievance
Section, Office of Legal Affairs

ce: Warden, Filing Facility: yer

GRANDVIEW PLAZA - P.O. BOX 30003 « LANSING, MICHIGAN 48909

~ - Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.34 Filed 05/10/24 Page 34 of 100

MICHIGAN DEPARTMENT OF CORRECTIONS J x 1 — oSu-228
MISCONDUCT REPORT 10, 4835-3228
*] Prisoner Number: Prisoner Name: Facility Code: | Lock: Violation Date:
266511 Reyes ons JCF C-76 8-15-20
Time and Place of Viclation: et Contraband Removal Record Provided to Prisoner?
6:40a.m.Cotton Food Service [] Yes Date —] N/A
Misconduct Class: [[] | io Eom Charge(s): BB@~ | ,. _.

Describe Violation (if contraband invoived, describe in detail; identify any other employee witnesses):

Prisoner Reyes#266511 had asked me earlier in the shifl to call in one specific line worker. | FSS/7 Graves told him i was not calling in
anyone else, at this time Reyes became argumentative. | then said take off your whites and go in. Reyes did not take off his whites and go in.
instead He then asked my co worker Fss Moulfair to take him upstairs to get tray's. Moulfair told Reyes to do what |, (Graves) told him to do.
Reyes again became argumentative and | again teld him to take off his whites and go in, at that time Moulfair told Reyes again to take his
whites off and do as Graves had said and go in, at this time Reyes complied with what moulfar had told him and took his whites off and went
back to his housing unit at no time Prisoner Reyes complied with my Direct Order | (Graves) gave him to take off his whites and go
in.Prisoner Reyes #296511 was identified by otis and C-block locator.

Reporting Staff Member's Name (Pein) ~"""“T Repgrting Staff Members Signature _ .._.Date and Time Witten ~~...

Location/Verification/Condition of Evidence: p.m.

Elevated to Class | atreview: | If yes’, explain reason:

C] Nc (7 Yes

COMPLETE THIS SECTION ONLY FOR REVIEW OF CLASS! MISCONDUCT on
Status Pending Hearing: [_] Bond L] Segregation © [_} Confinement to Cell/Room [] Other
eason.ifNqn-Bond: . ["]Nen-Bend List [] Bond Revoked dmust.give reasen}.- ---..--. - as eae te ne
Date and Time Given this Status: Who Notified in Housing Unit of Status:
Hearing Investigator Requested? [] No [] Yes Witnesses Requested? [J] No [] Yes
If yes, list:
Relevant Documents Requested? [] No (] Yes
If yes, list:
Additional Comments: Prisoner Waives 24 Hour Notice of Hearing? ([] No Apes
*, : .
us Hearing Date:
Reviewing Officers Name (Print } Reviewing Officer's Signature | Review Date and Time
{have received a copy of this report. My signature does not | Prisoner's Signature ‘Date
necessarily mean that | agree with the report. , boa -
LEI Prisoner refused to Sigh. Copy, given tg prisoner. Po om TT “s vA lav ig co
: a WAIVER OF GLASS I ORI HEARING a ee
| understand | have a right | to a hearing. | waive my right to | Prisoner's Signature Date
a hearing and piead guilty to all charges. | also waive my
right to appeal and accept the sanctions imposed.
SANCTIONS IMPOSED (Hearing Investigator enters begin and end dates for Class II misconducts)
__, Days Toplock Begins; = Ends: ee [1 Counseling/Reprimand (Class fl! only)
_.._ Days Loss ofPrivieges Begins; = Ends: A O8 Restitution (Class {| only)
__.. .. Hours Extra Duty Begins t—i(iws—‘“séisiE MS
Property Disposition If Applicable:
Employee Accepting Plea and Imposing Sanction (Print) Employee's Signature Date
Hearing investigator's Name (Print) Hearing Investigators Signature Date

Distribution: Prisoner; Counselor File: Record Office File (Class | and II); Central Office File (Class |); Hearing Investigator (Class | & Class II)
MICHIGAN SSA RTE oss CAR Ge! ECF No. 1, PagelD.35 ried ppi24 Page 35 of 100 x09

- CLASS i AND Ill MISCONDUCT HEARING REPORT EX. FE 4g
ST GENERAL INFORMATION .
Prisoner Number Prisoner Name Facility Code Violation Date
266511 Reyes JCF 8/15/20

MISCONDUCT VIOLATION
Hearing Misconduct Charges
Class II ) | Disobeying a Direct Order
Class Hli QQ
Misconduct Charge if Changed by Hearing Officer : Plea
| 1 Guilty [J Not Guilty
WAIVER OF HEARING . .
| understand | have a right to a hearing. | waive my right to a Prisoner's Signature Date

h@aring and plead guilty to all charges. | also waive my right to
abpeal and accept the sanctions imposed.

HEARING REPORT (Do Not Complete if Hearing Waived)
Evidence and/or prisoner statement in addition to misconduct report: Prisoner Reyes #266511 stated he has a hear
deficiency and did not hear the order given. Prisoner Reyes attempted to aliege the writer of this misconduct wrote the
misconduct in retaliation of a grievance prisoner Reyes wrote on her.

Reasons for findings: Prisoner Reyes was found not guilty of this misconduct due to the writer documenting the prisoner left
food service. The charge does not fit this misconduct.

The prisoner reported having a hearing deficit. The prisoner confirmed he could understand my communication with him.
There was nothing documented on his ID card, nor in OMNI regarding having a hearing deficit at this time.

Prisoner Reyes was present during this hearing and informed of the decision of the hearing.

FINDINGS
Charget [] Guilty & Not Guilty [J Dismissed CMIS Code 420
Charge 2 LC] Guilty CL] Not Guilty [] Dismissed CMIS Code
Charge 3 [ Guilty LJ Not Guilty CJ Dismissed CMIS Code
Charge 4 [J Guilty L] Not Guitty [4] Dismissed CMIS Code
SANCTIONS (Hearing investigator enters begin and end dates)
Days Toplock Begins: __ Ends: C] Counseling/Reprimand (Class Ii! only)
Days Loss of Privileges Begins: Ends:
Hours Extra Duty Begins: Ends: L}] $_____ Restitution (Clags II only)

Property Disposition if Applicable:
. Misconduct Hearing Report given to Hearing Investigator for Delivery to Prisoner this date: 8/26/20

‘earing Officer's Name (Print} Hearing Officer's Signature - | Hearing Date
-T. Losacco 8/26/20
Hearing Investigator’s Name (Print); Hearing Investigator's Signature | Date
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Distribution: Counseldr File; Record Office File (Class II); Prisoner ~

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Case 2: 24°CV 11243- GAD-CIl ECF No. 1, PagelD.36 Filed 05/10724 Rage 36of TK C

PRI IGAN DEPARTMENT ¢ OF CORRECTIONS eee ete
ONER/PAROLEE GRIEVANCE FORM CSH247A

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Date Received at Step | As it Grievance Idehtifier: Ly

Name (print first, last) Institution | Lock Number [Date of Incident] Today’s Date
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If none, explain why.
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Four copies of each page and supporting documents must be submitted with this form. The grievance must be submitted

to the Grievance Coordinator in accordance with the time limits of OP 03.02.130. Ww tds cabs rev my ary ee

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Grievant:  4.* | Resolution must be described above. Grievakt" 5 Signature Date

DISTRIBUTION: White, Green, Canary, Pink — Process to Step One; Goldenrod — Grievant

Case 2:24-cy-11243-GAD-Cl ECF No. 1, PagelD.37 Filed 05/10/24 Page. 37-of #4, wh
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Michigan Department of Corrections
GRIEVANCE RESECTION LETTER

DATE: 43/4/2020
TO: REYES 260514 i LOCATION: JCF C-16
PRGM: Grievance Cana itor: 2 :
FROM: rievinice Eco inkicor Cooley
° SURIECT:  Receipt/Rejection/Denial for Step | Crievance
Your Step | anevance regarding retalitation harassment
93 was received ia this oflice an 9/1/2020 and was rejected duc to the following reason:

iy fanure references to this grievance should utilize this iderdifier:

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Case 2:24-cv-11243-GAD-CIl ECF No. 1, PagelD.38 Filed 05/10/24 Page 38-01, 4Q0«.,
MICHIGAN DEPARTMENT OF CORRECTIONS ~~ % ; Lo * " - 4835-4248 5/09 |
PRISONER/PAROLEE GRIEVANCE APPEAL FORM : csJ- 2478

HG Coordinator Grievance Identifier: | Job i DAO | jmp X18

INSTRUCTIONS: THIS FORM IS ONLY TO BE USED TO APPEAL A STEP 1 GRIEVANCE. ts e-
The white copy of the Prisoner/Parolee Grievance Form CSJ-247A (or the goldenrod copy if you have not been provided
with a Step I response in a timely manner) MUST be attached to the white copy of this form if you appeal it at both Step
Il and Step ITI.

Date Received by Grieva
at Step II: i

4,
ok

If you should decide to appeal the ‘Step } ‘grievange response to Step I, your appeal should be directed to:

fo by iy 7 : If it is not submitted by this date, it will be considered terminated.

wo

If you should decide to appeal the response you receive at Step II, you should send your Step HI Appeal: tothe Director’s
Office, P.O. Box 30003, Lansing, Michigan, 48909.

Name (Print oe Caf - | Number Institution ___| Lock Number Date of Incident’ “Today's Date
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STEP iT — Reason for Appeal Te arn Vo pec ow De Ce TH a) thog My Devic’ of

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STEP III — Reason for Appeal _| One VO eos eSey On Se { e*
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NOTE: Only ; a copy of this appeal and the response will be returned to you.

STEP III — Director’s Response is attached as a separate sheet.

DISTRIBUTION: White - Process to Step III; Green, Canary, Pink - Process to Step II; Goldenrod — Grievant

Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.39 Filed 05/10/24 Page 39 of 100

G. Robert Cotton Correctional Facility
Step [1 Grievance Response
Grievant: Reyes # 266511

Grievance #: JCF-2020-09-1725-28E

I have reviewed the Step I grievance, Step I response along with the associated Step
II reason for appeal. The Step I grievance was rejected for the complaint being filed as
anon-grievable issue. You file at step IJ.

Grievance Rejected
PD 03.02.130 “Prisoner/Parolee Grievances” defines what is grievable and non-grievable.

The grievance is filed in an untimely manner. The grievance shall not be rejected if
there is a valid reason for the delay; e.g. transfer.

The step I rejection has been reviewed by the Warden’s office in accordance with P.D.
03.02.130 “Prisoner/Parolee Grievances” and the REJECTION IS UPHELD AT STEP
i

Noah Nagy, Warden ZG yy ot (3 a LO

Respondent’s Name/Position Respondent Sign

Case 2:24-cv-11243-GAD-Cl. ECF No. 1, PagelD.40 Filed:05/10/24 Page 40.of 10

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MICHIGAN DEPARTMENT OF CORRECTIONS . . 4935-047 10/4
PRISONER/PAROLEE GRIEVANCE FORM So CS}-247A

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Grievance Identifier:

Name (print first, last) | Institution |Lock Number |Datevof Incident} Today’s Date ©

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t0 the Grievance Coordinator in accordance with the time limits of OP 03.02.130.
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RESPONSE E (Grievant Interviewed? Oo Yes “i No If No, give explanation. If resolved, explain resoluti¢ -

DISTRIBUTION: White, Green, Canary, Pink — Process to Step One; Goldenrod — Grievant

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Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.41 Filed 05/10/24 Page 41 of 100" G

Michigan Department of Corrections
GRIEVANCE REJECTION LETTER

‘ DATE: 9/10/2020

TO: REYES 266511 LOCATION: JCF C-7
FROM: Grievance Coordinator: McCumber-Hemry

e SUBJECT: Receipt/Rejection/Denial for Step I Grievance

: Your Step I grievance regarding policy/proc.PD 05.02.110 Paragraph L,
A was received in this office on 9/10/2020 and was rejected due to the following Teason:.
A grievant may not grieve the content of policy or procedure except as it was specifically applied to
the grievant. If a CFA prisoner has a concern with the content of a policy or procedure, s/he may
direct comments to the Warden's Forum as provided in PD 04.01.1580 "Prisoner Housing Unit
Representatives/Warden's Forum".

’ Any future references to this grievance should utilize this identifier:
JCF / 2020 / 09 / 1797 / 27B

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Respondent i ., Date, Reviewer pO ng a  Ditte
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Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.42 Filed 05/10/24 Page 42 of 100

Step II Grievance Appeal Response JCF-2020-09-1797-171
Name: Reyes Number: 266511 C07

Summary of Step I Complaint:

Grievant states Food Service Director Coffelt instructed FSS 7’s not to ever call grievant in for overtime
because of his grievances on FSS Graves.

Summary of Step I Response:

Grievance was rejected at step 1. Therefore, investigation and response will be provided at Step II.

Summary of Reason for Appeal:
Grievant reiterates Step I complaint.

Summary of Step II Investigation:

Upon review of the Step | grievance, Step II grievance appeal form and investigative information, At step II,
FS Coffelt denies the allegations raised by Grievant. FS Coffelt indicated that staff was instructed not to call
anyone in for overtime if there were workers on duty sitting around that was already available. Grievant did
not provide any new evidence at Step II to substantiate his claim. There is no violation of PD 03.03.130
Human Treatment and Living Conditions for Prisoners.

Conclusion:

Therefore, Grievance is denied in accordance with PD 03.02.130 Prisoner/Parclee Grievances.

Extension: 11/03/2020

Based on the above, your prievance is considered Denied at Step II.

Noah Nagy, Warden

Zz /{ / X bone
Respondent’s Name (Print) Respondent’ ySignature [ Date
Case 2:24-cv- -
4-cv-11243-GAD-Cl ECF No. 1, PagelD.43 Filed 05/10/24 Page 43 of 100

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MICHIGAN DEPARTMENT OF CORRECTIONS 4835-4248 5/09
PRISONER/PAROLEE GRIEVANCE APPEAL FORM CS3-247
-
Date Receiv i j Pee Grievance Identifier: JCD { (07 A 4/0 |
at Step II: A — 7
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INSTRUCTIONS: THIS FORM IS ONLY TO BE USED TO APPEAL A STEP 1 GRIEVANCE.

The white copy of the Prisoner/Parolee Grievance Form CS3-247A (or the goldenrod c py if you have: not been. provided
with a Step I respanse in a timely manner) MUST be attached to yr white © Cony at this fSrecif You Appeal: vit’ at both Step

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[Name (Print first, !ast) Number | Institution | Lock Number | Date of Incident

Office, P.O. Box 30003, Lansing, Michigan, 48909,

Today's Date
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NOTE: Only a copy of this appeal and the response will be returned to you.

STEP III — Director’s Response is attached as a separate sheet.

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DISTRIBUTION: White - Process to Step Ill; Green, Canary, pink - Process to Step II; Goidenrod - Grievant
Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.44 Filed 05/10/24 Page 44 of 100

STATE OF MICHIGAN

GRETCHEN WHITMER DEPARTMENT OF CORRECTIONS —_HEIDIE. WASHINGTON

GOVERNOR LANSING DIRECTOR

STEP Il] GRIEVANCE DECISION
Rec #: 121768

as "

To Prisoner: Reyes #: 266511
Current Facility: JCF

Grievance Identifier: JCF-20-09-1797-1 71

Step I! Received: 11/42/2020

Your Step [II appeal has been reviewed and considered by the Grievance Section of the Office
. of Legal Affairs in accordance with PD 03.02.130, "Prisoner/Parolee Grievances". Upon
examination it has been determined that your issue was in fact considered, investigated, and a

proper decision was tendered.

THE STEP tl APPEAL IS DENIED.

THIS DECISION CANNOT BE APPEALED WITHIN THE DEPARTMENT.

hin til Date Mailed: FER 1.9 2021

Richard D. Russell, Manager Grievance
Section, Office of Legal Affairs

cc: Warden, Filing Facility: WICy

GRANDVIEW PLAZA - P.O BOX 30003 * LANSING, MICHIGAN 483909

Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.45_ Filed 05/10/24 Page 45 of 100. ,,
TYRONE REYES 266511 JCF Lock:C76BOTU 'ID:927203890 [P 1/2] PK

You have received a Spay letter, the fastest way to get mail

From : TYRONE REYES, iD: 266511

To Marjorie Toins. CustomerlD: 2031960

Date 9/3/2020 1:54:26 PMEST, _Letter ID. 927203890
Location JCF

Housing C7S8BOTU

. AFFIDAVIT...

To: Mr. Schubring Facility Manager
G.Roberts Cotton Correctional Fac.

From: Tyrone L. Reyes
#266511

Re: Complaint Against Food Director Coffelt

1, Tyrone L. Reyes, #266511, incarcerated at G.Roberts Cotton Correctional Facility at the time of this
complaint. The below complaint is true to the best of my knowledge, information, under the scope of law of prejury.

|, the complainant, has brought several incidents to JCF Food Dir. Coffelt attention to no resolution. Continually
allowing certain FSS 7 employees to act unprofessionally, without any correctable actions being taken against them.
This undermine the integrity, safety and health of this facility staff, officers and its incarcerated residents. Also, putting
food service workers lives at risk, without intervening.

Within the last few weeks, | had to file four grievances on two FSS7 employees (one on Hirth & three on
Graves). As well as receiving a bogus misconduct that was dismissed, resulting in further retaliatory acts Is in
violation of State and Federal Law, MDOC Policy, and its own Food Service Rules. Employees are held to a higher
standard and should act accordingly.

instead of acting on complainant grievances, Food Dir. Coffelt, felt the need to take the side with F557
employees, instead of being objective and look at the facts. Food Service Dir. Coffelt, also is now a willing participant
in staff corruption and retaliation, by instructing FSS7's not to allow, !, Tyrone L. Reyes, to work any hours other than
its regular working hours. This is a blatant retaliatory act and now hold supervisory responsibility for the actions of its
employees.

It was instructed that FSS‘s can call (Reyes) in to work back dock. Prisoner Taylor was told that as long as be
ask a FSS (Reyes) could come to help him due to back problems. He has been asking FS Supervisors to call
Complainant in Mon-Fri to help him with its job for over two months. Now, Food Director Coffell, told supervisors that
they can call anyone else for overtime, but not complainant. This is the second time this has occurred by the Director,
where complainant filed a grievance and Dir. Coffelt ordered staff not to give complainant overtime. Complainant
could not pursue this issue, due to time limit expiring.

Dir. Coffelt, its causing a hostile environment by yelling and cussing out food service workers and supervisors
in front of workers. It has been brought to my attention that this type of behavior just transpired on the back dock
today(9-3-2020, at approx. 9 something. Cussing out and supervisor in front of workers and maintenance workers
and staff.) This can be clarified with a proper investigation.

These is unprofessional action by a administration authority figure who behavior should be held to a higher
standard. Creating such a work environment should not be tolerated. instructing staff to retaliate against complainant
is a Clear violation. which should not also be retaliated against.

Complainant is fearful of farther retaliation by Dir. Coffelt and all other MDOC staff, because of its power and
position in the administration. Complainant is also afraid of their campaign to terminate complainant from its
assignment in food service, where work ethics is above average at all time. Complainant is dependent of this
assignment, in order to pay for legal work, fees, and etc., for litigation purposes. Complainant fear of going to work
now, because of its retaliation campaign by Dir. Coffelt and FSS7 Graves continuous harassment.

| ask that the appropriate action be taken, in order not suffer further retaliation by any MDOC officials, officers,

JPay Tell your friends and family to visit www jpay.com to write letters and send money!

Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.46 Filed 05/10/24 Page 46 of 100
TYRONE REYES 266511 JCF Lock:C76BOTU 1D:927203890 [P 2/2]

You have received a JPY letter, the fastest way to get mail

From TYRONE REYES. ID: 266511

Ta: Marjorie Toins, CustomerID: 2031960

Date . 9/3/2020 1:54:26 PMEST, Letter 1D: 927203890
Location JCF

Housing . C76BOTU

food service supervisors, etc......

| Jpay Tel! your friends and famity to visit www.jpay.com to wnite letters and send money!

o> Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.47 Filed 05/10/24 Page 47 Ee —

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MICHIGAN DEPARTMENT OF CORRECTIONS ee 4895-4247°-10194
PRISONER/PAROLEE GRIEVANCE FORM, ee oo “ ae CSH-247A
Date Received atStepI i , Grievance Identifier: °|f tt Loe tua ‘| } Lal ie li. i

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What attempt did you make to resolve this issue prior to writing this grievance? On what date? A- =G- a6
If none, explain why.

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to the Grievance Coordinator in accordance with the time limits of OP 03.02.130. Ee od Sery
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Grievant: bo Resolution must be described above. Grievant's Signature — Date i

DISTRIBUTION: White Green, Canary, Pink -— Process to Step One; Goldenrod — Grievant

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* « “od : . :
- MICHIGAN DEPARTMENT OF CSJ-2478 3/18/2019
CORRECTIONS

STEP I GRIEVANCE RESPONSE SUPPLEMENTAL. FORM
(Use if space on the CSJ-247A is insufficient for @ full response by stating.on the CSJ-247A “See attached CSJ- -2478")

JCF-20-09-1796-17A

Click or tap to enter a date.

Food Services Supervisor Graves continues to retailiate agianst for writing original grievance.

INVESTIGATION SUMMARY:

Reyes 266511 stated that on 09.06.2020 Ms. Woodman asked him (Reyes 266511) to ask Ms. s. Graves a question. “He “(Reyes 26651 1)
told Ms. Woodman "no". Ms Woodman had him sent in for not doing as instructed.

Ie ee

After a long discusion with Reyes 26651 i it was ‘agreed t ‘that i it was 5 resolved.

FSD

10/1/2020

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Sagi Click or tap to entera date. | ofts/ trad

Distribution: Original - Step I Grievance Ceordinator Copies — 3 To Grievant dl Prisoner Copy; I for Step II filing: 1 for Step IH filing)”

Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.49 Filed 05/10/24 Page 49 of 100

MICHIGAN DEPARTMENT OF CORRECTIONS 4835-4248 5/09
PRISONER/PAROLEE GRIEVANCE APPEAL FORM CSJ-247B
Date Received by Grievance Coordinator Grievance Identifier: KSI CLE laie Ig 4 | Ly ib | L\ yA

at Step I: W- Ib 309° RECEIVED NOV 16 2020

INSTRUCTIONS: THIS FORM IS ONLY TO BE USED TO APPEAL A STEP I GRIE . 0
The white copy of the Prisoner/Parolee Grievance Form CSJ-247A (or the gold ARS BY VE fou Moe Kee een provided
with a Step I respagse ina timely manner) MUST be attached to the white copy of this form if you appeal it at both Step

Il and Step Il. DEC O8 2020

If you should decide to appeal the Step I grievance response to Step II, your appedl ef b¢ dieqaeciairs
(5c by \ir iL SUC. If it is not submitted by thi tei fed terminated.

If you should decide to appeal the response you receive at Step I, you should send your Step Ili Appeal to the Director's
Office, P.O. Box 30003, Lansing, Michigan, 48909.

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Respondent's Name (Print) Respondent’s Si u Date + \|-35- Rm

STEP III — Reason for Appeal Dee. 40 VDare Vay » Cobleerc Stanapend (enor Vee wes Neat es ty

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NOTE: Only a copy of this appeal and the response wiil be returned to you.

STEP III — Director’s Response is attached as a separate sheet.

DISTRIBUTION: White - Process to Step III; Green, Canary, Pink ~ Process to Step II; Goldenrod - Grievant

Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.50 Filed 05/10/24 Page 50 of 100

STATE OF MICHIGAN
GRETCHEN WHITMER DEPARTMENT OF CORRECTIONS —_HEIDIE. WASHINGTON
GOVERNOR ’
LANSING DIRECTOR

STEP Il] GRIEVANCE DECISION
Rec #: 122426

17A

To Prisoner: Reyes Ware #: 266511
Current Facility: JCF

Grievance Identifier: JCF-20-09-1796-17A

Step II Received: 12/8/2020

Your Step [il appeal has been reviewed and considered by the Gnevance Section of the Office
of Legal Affairs in accordance with PD 03.02.130, "Prisoner/Parolee Grievances”. Upon
examination it has been determined that your issue was in fact considered, investigated, anda

proper decision was rendered.

THE STEP II APPEAL IS DENIED.

THIS DECISION CANNOT BE APPEALED WITHIN THE DEPARTMENT.

Att! Date Mailed: MAR 08 202!

Richard D. Russell, Manager Grievance
Section, Office of Legal Affairs

ec: Warden, Filing Facility: ICY

GRANDVIEW PLAZA - P.O. BOX 30003 ° LANSING. MICHIGAN 48909

Case 2:24-cv-11243-GAD-Cl - ECF No. 1, PagelD.51 Filed 05/10/24 Page 51 of 100. EX _—
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MICHIGAN DEPARTMENT OF CORRECTIONS 4835-4247 10/94
PRISQNER/PAROLEE GRIEVANCE FORM CSI-247A
Date Received at Step] | poo ” Grievance identhier: | kk t: | l LU A | | Ir | 11H | pry

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If none, explain why. we wei
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State problem clearly. Use separate grievance form for each issue. Additional pages, using plain paper, may be used.
Four copies of each page and supporting documents must be submitted with this form. The grievance must be submitted |
to the Grievance Coordinator in accordance with the time limits of OP 03.02.130.

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RESPONSE (Grievant Interviewed? (_] Yes Pee If No, give explanation. If resolved, explain resolution.)

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DISTRIBUTION: White, Green, Canary, Pink — Process to Step One; Goldenrod — Grievant”... . | . %

* Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.52 Filed 05/10/24 Page 52o0f100 “, --
ee oe meh AS
MICHIGAN DEPARTMENT OF . CSJ-2478 3/18/2019

CORRECTIONS - og

STEP I GRIEVANCE RESPONSE SUPPLEMENTAL FORM __
(Use if space on the CSJ-247A is insufficient for a full response by Stating onthe CS-247A "See attached CSJ-2478")

=

JCF-20-10-1982-17a

Inmate Reyes states that he was retaliated against by Cook Graves for filing grievances because of the performance evaluation 363 she .
filled out.

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It was found that the grievance was written after the performance evaulation was filled out.

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This grievance was written after receiving a 363 score he did not agree with for his performance of 10.04.2026 this griévance is hereby .

denied.

FSD ®
: Facility Manager so |

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evant (1 Prisoner Copy; I for Step Ii filing; 1 for Step Ill filing)

Coordjnater

Distribution: Original - Step 1 Grievance

Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.53 Filed 05/10/24 Page 53 of 100

Step If Grievance Appeal Response JCF-2020-10-1982-17A
Name: Reyes Number: 266511 G02

Summary of Step I Complaint:

Grievant states he Food Service Supervisor (FSS) Graves retaliated against him for filing grievances by filling
out a unauthorized 363 and negatively scoring it as below average.

Summary of Step I Response:

The Step I response indicates Grievant wrote this grievance after receiving a CSJ 363 Prisoner Program and
Work Assignment Evaluation with a score that he did not agree with on 10/04/2020.

Summary of Reason for Appeal:

Grievant reiterates Step I complaint.

Summary of Step II Investigation:

Upon review of the Step I grievance, Step II grievance appeal form and investigative information, step I
response was appropriate. There is no evidence of retaliation. There is no violation of policy PD 03.03.130
Humane Treatment and Living Conditions or 05.01.100 Prisoner Program Classification.

Conclusion:

Grievance is denied in accordance with PD 03.02.130 Prisoner/Parolee Grievances.

Based on the above, your grievance is considered Denied _at Step II.

Noah Nagy, Warden LG
i / ay boxe
Respondent’s Name (Print) Respondent/gS#ignature t Bate

Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.54 Filed 05/10/24 Page 54 of 100

MICHIGAN DEPARTMENT OF CORRECTICNS 4835-4248 5/09
PRISONER/PAROLEE GRIEVANCE APPEAL FORM cs}247B
Date Received by Grievance Coordinator Grievance Identifier: s CLE Elay QO l\ IG | 4) % 21 WL 4 |
at Step II: -V- a0S¢e

RECEIVED NOV 17 2020
INSTRUCTIONS: THIS FORM IS ONLY FO BE USED TO APPEAL A STEP I GRIEVANCE '
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with a Step I response in a timely manner) MUST be attached to tha w

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IE and Step III.

DEC 08 2020

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Bred ris Wa onsidered terminated.

If you should decide to appeal the response you receive at Step II, you should send your Step III Appeal to the Director's
Office, P.O. Box 30003, Lansing, Michigan, 48909.

If you should decide to appeal the Step I grievance response to Step 1,
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Name (Print first, last) Number Institution Lock Number | Date of Incident | Today’s Date

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STEP II -- Reason for’ Appeal P/e Ne CAT o IA c LON e obs os tO State. rat <~ lorounlt
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STEP II — Response Date Received ge

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RECEIVED NOV 25 2020

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STEP III — Reason for Appeal Mes 1 (0 Ser, Nogy TEE PONSEES Goes nat ad

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ok LIAN OTA C ary in S G2 ace ples ees

NOTE: Oniy a copy of this appeai and the response will be returned to you.

Lett PRE

Respondent’s Name (Print)

STEP III — Director’s Response is attached as a separate sheet.

DISTRIBUTION: White - Process to Step III; Green, Canary, Pink - Process to Step II; Goldenrod - Grievant

po

Case 2:24-cv- -
24-cv-11243-GAD-CI ECF No. 1, PagelD.55 Filed 05/10/24 Page 55 of 100

STATE OF MICHIGAN
GRETCHEN WHITMER DEPARTMENT OF CORRECTIONS —_HEIDIE. WASHINGTON
GOVERNOR .
LANSING DIRECTOR

STEP II GRIEVANCE DECISION

Rec #: 122427
Wao’ 17A
To Prisoner: Reyes #: 266511
Current Facility: JCF
Grievance Identifier: JCF-20-10-1982-17A
Step IN Received: 12/8/2020

Your Step II appeal has been reviewed and considered by the Grievance Section of the Office
of Legal Affairs in accordance with PD 03.02.130, "Prisoner/Parolee Grievances". Upon
examination it has been determined that your issue was in fact considered, investigated, and a
proper decision was rendered.

THE STEP I} APPEAL IS DENIED.

THIS DECISION CANNOT BE APPEALED WITHIN THE DEPARTMENT.

Stil Date Mailed: war 98 202%

Richard D. Russell, Manager Grievance
Section, Office of Legal Affairs

cc: Warden, Filing Facility: TOF

GRANDVIEW PLAZA - P.O BOX 30003 - LANSING, MICHIGAN 48909
4» « « Case 2:24-cv-11243-GAD-CIl ECF No. 1, PagelD.56 Filed 05/10/24 Page 56 of We K

MICHIGAN DEPARTMENT OF CORRECTIONS

CSJ-228
MISCONDUCT, REPORT tiv 4835-3228
Prisoner Number: Prisoner Name: Facility Code: | Lock: Viotation Date:
266511 Reyes / _ | JCF G-02 10-11-20
Time and-Place of Violation: Contraband Removal Record Provided to Prisoner?
5:00a.m.Cotton Food Service [] Yes Date ~ —&] N/A
Misconduct Class: L] 1 Bd au Cj Charge(s): Out of place

Describe Violation (if contraband involved, describe in detail: identify any other employee witnesses):

When | reported to work on 10/11/20 at 5 a.m. prisoner Reyes #266511 had not shown up for his shift. | asked the 37 shift chow hall c/o,
officer Dellassontos to call G-unit. He did so and reported to me that prisoner Reyes #266511 did not want to work today. At no time did
Reyes have permission to not report to work on 10/11/20, Prisoner Reyes #266511 was identified by Otis and G-block locator:

om

-n Ser ee ete itn ed ae apie aa i oa ene

Reporting § Staff Member's Name Print) Rengriog Staff Member's Signature 4 Date and Time Written
Graves/Fss7 | ED A Ltn ss J 40/12/20 12:30

Location/Verification/Condition of Evidence:

Elevated to Class | atreview: | If “yes”, explain reason:

[] No [) Yes

COMPLETE THIS SECTION ONLY FOR REVIEW OF CLASS MISCONDUCT

Status Pending Hearing: ] Bond [] Segregation — FE] Confinement to Cell/Room E] Other

Reason if Non-Bond: [_] Non-Bond List [| Bond Revoked (must give reason)

Date and Time Given this Status: Who Notified in Housing Unit of Status:

Hearing Investigator Requested? [] No ([] Yes Witnesses Requested? [LJ] No ([] Yes

If yes, list:

Relevant Documents Requested? [] No (]) Yes

lf yes, list

Additional Comments: Prisoner Waives 24 Hour Notice of Hearing? [1] No [] Yes

Hearing Date: -
Reviewing Officer's Name (Print } Reviewing Officers Signature Review Date and Time
eo a. - a oC Cea E i ~ PE hE fod
| have received a copy of this report. My signature does not Prisoner's Signature wow oe"  T Date
necessarily mean that | agree with the report. Pe ;
Prisoner refused to Sigh. Copy. given to prisoner. - oy
a ~~" WAIVER OF CLASS 11 OR Ill HEARING _ 2

| understand | have a “ight to a hearing. | waive my rightto | Prisoner's Signature Date

a hearing and plead guilty to all charges. | also waive my

right to appeal and accept the sanctions imposed.

SANCTIONS IMPOSED (Hearing investigator enters begin and end dates for Class II: misconducts)

- _ Days Toplock Begins, Ends: ("] Counseting/Reprimand (Ciass III only)
_ _ Days Lossof Privileges Begins _ Ends: _ _ Of Restitution (Class II only)
Hours Extra Duty Beginss ——_sCEEndss: ,
Property Disposition If Applicable:
Employee Accepting Plea and Imposing Sanction (Print) Employee's Signature Date
Hearing Investigatar's Name (Print) Hearing Investigator’s Signature Date

Distribution: Prisoner; Counselor File; Record Office File (Class | and Il); Central Office File (Class I); Hearing Investigator (Class | & Class Il}

Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.57 Filed 05/10/24 Page OF” | a
o-MICHIGAN DEPARTMENT OF CORRECTIONS ~ L’ esy229

_CCASS IFAND Ill MISCONDUCT HEARING REPORT eee _ _10/t0

GENERAL:
Prisoner Number | Prisoner Name Violation Date
266511 | Reyes 10/41/20
‘MISCONDUCT Vi Pee ere
Hearing Misconduct Charges
Class {I —] Out of Place
Class ili CT]
Misconduct Charge if Changed by Hearing Officer Plea
C Guilty Bw Not am
7 WAIVER OF HEARING SPATE oy Sag ARS
| understand { have a right to a hearing. | waive my right to a Prisoner's Signature Date

hearing and plead guilty to all charges. | also waive my right to |
appeal and accept the sanctions imposed.

Evidence andlor j prisoner statement in addition to misconduct +t report: Prisoner Reyes #26651 1 stated he reported to the unit
Officer at 0430 hours that he had a migrane and didn't feel well enough to go to work. Prisoner Reyes originally stated he
ft didn't get migranes then changed his statement to he requiarly gets migranes. Prisoner Reyes Stated he spoke with Officer
Ogunkola. Page 1 of 2.

Reasons for findings: | interviewed Prisoner Reyes #266511 stated he reported to Officer Ogunkola that he didn't feel well
and didn't want to go to work. Officer Ogunkola stated he called food service and spoke with Officer Delossantos telling him
Prisoner Reyes was not going to go to work. Officer Ogunkola stated he didn't necessarily give Prisoner Reyes permission
not to report to work, however, reported the information to the Food Service Officer. Officer Ogunkola was informed
prisoners are required to report to their callout even if they are not feeling well. | spoke with RN Lester who stated Prisoner
Reyes does have a history of migranes. | spoke with Food Service Supervisor Coffelt who stated prisoners are informed —
they are to report to work whether prisoners are sick or not. Once prisoners report to work they will be sent to health care to. -
be evaluated and health care will determine whether the prisoner is to be laid in for the day. Ms. Coffelt gave me a copy of
the Offender Food Employee Reporting Agreement Prisoner Reyes signed, dated March 13,2020, stating prisoners are
required to report to the person in charge (food service employees) what their symptoms are. I have reviewed OP 04.07.103
which states the Food Service Employee shall check the prisoner upon arrival to work. If the prisoner is not fit for work, the
prisoner wilt either be sent t back to nis housing ut unit or will be sent t health care 2 to be evaluated.
: : <P ERE ae og

Charge 1 3g Guilty LJ) Not Guilty (} Dismissed’

CMIS Code 436

Charge2 (] Guilty [] Not Guilty L] Dismissed CMIS Code i
Charge3 [} Guilty [J Not Guilty {_] Dismissed CMIS Code
Charge 4 fF] Guilty [j Not Guilty [_] Dismissed CMIS Code
SANETIONS (Hearing Investigator enters begitv and enddates} ~ = === .
Days Toplock Begins: __ Ends: —, [1 Counseling/Reprimand (Class III only)
2 Days Loss of Privileges Begins; |i 4, > Ends: wt DMs
Hours Extra Duty Begins: Ends: _ CJ $____ Restitution (Class II only)

Property Disposition if Applicable:
Misconduct Hearing Report given to Hearing Investigator for Delivery to Prisoner this date: 10/27/20

Hearing Officer's Name (Print) Hearing Ofneers Signature . : Hearing Date

| LT. Losacco __ if . ai : f yo ' 10/27/20

Hearing investigator's Neme (Print) ~) Haring h Investigaor’s Signature oe - Date _
Lee A ey Pivinshuou

Distribution: sina File; Record Office File (Class I); Prisoner”
“Hearing

C 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.58 Filed 05/10/24 Page 970% 00

N DEPARTMENT OF CORRECTIONS TF ogy 209
LASS We AND we MISCONDUCT EE REPORT 40/10

Violation Date
10/11/20

Facility Code
JCF

‘Misconduct Charges
Out of Place

Classth | &
Class Ill oO

Plea

C1 Guiity

oe and accept the s sanctions imposed,

~~ pOasntcler Rage of 2, Spee eee Seep ihe: Sear hepa cepted Legis ORiek RE

£3 Not Guilty

| understand { have a right to a hearing. | waive my right to a
hearing and plead guilty to ali charges. | also waive my right to

Date

Evidence and/or prisoner statement in addition to misconduct report: Prisoner Reyes #26651 1 state d dhe reported to the unit |
Officer at 0430 hours that he had a migrane and didn't feel well enough to go to work. Prisoner Reyes originally stated he
didn't get migranes then changed his statement to he regularly gets migranes. Prisoner Reyes stated, he Se with Officer

] Prisoner Reyes guilty of this misconduct. | have reviewed Prisoner Reyes' misconduct history and found he has received

was also informed ail call outs are mandatory and he is required to report.
_-d.apthrermeyae provitek's spay teherthat was Sént to°Heidi Washi igtor fegacarh ing allsged retayat i

Reasons for findings: | received a statement from Ms. Graves stating prisoners are required to report to work, evenifthey .
are not feeling weil and it will be determined by Food Service Employees if the prisoner is well enough to work or not, Ms,
Coffelt informed me of the same information. Based on the information provided in the investigation of this hearing, | find.

two class tl misconducts for the 2020 year. Prisoner Reyes has not received a misconduct since 2017, outside of what was
received this year. Prisoner Reyes was present during this hearing and informed of the sanctions imposed. Prisoner Reyes

however, this provided no support to Prisoner Reyes not following proper protocol when reporting to work even when ‘Saling
ill.
Note: Prisoner Reyes is identified as having a hearing disability. Prisoner Reyes reported to me verbally during my interview

onal

that he can understand me and did not need an 1 interpreter.

ee

Charge 1 x Guilty C] Not Guilty Oo Dismissed

moharge 2° Potty “Ea ntorreatty Ep -rrettasep = — Sth Che a eo
Charge 3 CL] Guilty [] Not Guilty [J Digmissed CMIS Code ‘ ”
“| Chargge4 [] Guilty L] Not Guilty [] Dismissed CMIS Code

SANCTIONS (Hearing Investigator enters begin and end dates) ===~=~=C~S<S;S 3 SE

—-— Pays Toplock Begins: ___ Ends: __ C1 Counseling/Reprimand (Class Ill only)

2 Days Loss of Privileges Begins: Ends: .

Hours Extra Duty Begins: _ Ends: CO $_____ Restitution (Ciass II only)

Property Disposition if Applicable: .

Misconduct Hearing Report given to Hearing Investigator for Delivery to Prisoner this date: 10/27/20 2

Hearing Officer's Name (Print) Hearing Officér's Signature | Hearing Date

LT Losacco ce 10/27/20

| Hearing | Investigator's N Name (Print) a | || Hearing investigator's Signature _ - _ Date OS -

Distribution’ Counselor File; Record Office File (Class il); Prisoner

Runa RES HAPAR LTTEOR WRREAD RR F|OAPEI024 Page 5901100

You have received a Jp/QY letter, the fastest way to get mail

From : TYRONE REYES, ID: 266511
To. Marjorie Toins, CustomerID: 2031960

Date: 10/29/2020 10:12:08 PMEST. Letter ID: 977601361

Lacation: JCF

Housing : GO2BOTL

To: Warden Nagy
Fac. Mng. Schubring

From: Tyrone Lee Reyes,
G.Roberts Cotton

October 29th, 2020

Re: Complaint upon Warden Request on FSS Graves

On 10/28/20, | Tyrone L. Reyes, talked to Warden Nagy and explained that | was still being retaliated against
by FSS GRAVES, resulting in my termination from food service. Since the complaint filed to this office on 10/08/20,
the following things occurred:

1) Several times | was unable to do my job effectively, because FSS Graves would not do anything | asked.
Forcing member to search and wait on another supervisor.

2) On 10/09/2020, ! had a meeting with Food Dir. Coffelt concerning 10/08/2020 complaint and bogus 363
evaluation that FSS Graves submitted with no authorization from anyone, since my six month evaluation has just
been complete a week before. (Coffelt acknowledged she did not authorize it, but yet signed it and processed it.)

3) On 10/11/2020, at approx. 4:30am, | ways suffering from and severe migraine and dizzy spells. | notified ofc.
Ogunkola, that | was not feeling good and had a migraine and could he call food service to let them know? He stated
he would and he did.

4) FSS Graves, asked first shift kitchen officer (can't spell name} to write an out of place on me. This officer
wouldn't, forcing FSS Graves to write misconduct on its own. Stating in the body of the misconduct that | told the
officer, “| don't feel like working". Which is not true.

FSS Graves, seen a opportunity and wrote this misconduct. Evidence that this action is in retaliation, (1)
Officers writes these out of places, (2) record will reflect FSS Graves has never written this type of misconduct before,
(3) record wilt reflect that a lot of food service workers did not show up to work when FSS Graves worked and she
never wrote them a misconduct.

On 10/28/2020, | was found guilty of this misconduct, because | didn't personally waik over to food service and
tell them | was sick. it has always been common practice to report to the officer in the unit and they call food service
officer to notify them of prisoner not feeling good. No one has ever received this type of misconduct here at JCF for
foliowing this type of practice.

This practice has been more commonly used during the Covid-19 pandemic, because if you was experiencing
one of the symptoms before daily temperature taking, they didn't want you coming to food service. We was
encouraged to report to the offtcer in the unit.

It is clear, FSS Graves was dead set on firing me using every tool at its disposal and became bold every time
their attempt went unchecked by its superiors, in with I've reported it every time.

| request a proper investigation, my job detail reinstated, 363's removed from my files, misconduct removed
from my files, and FSS Graves disciplined for every retaliatory action against me.

Warden Nagy, thank you for taking the time to talk to me and | hope this can be resolved in a timely manner

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You have received a JP QY letter, the fastest way to get mail

From : TYRONE REYES, iD: 266511

To: Marjorie Toins, CustomerID: 2031960

Date: 10/29/2020 10:12:08 PMEST. Letter ID: 977601361
Location : JCF

Housing : GO2BOTL

Respectfully submitted,
Tyrone Reyes
MISCONDUCT REPORT

\ } 6 i84B TOS
MICHIGAN DEPARTMENT OF CORRECTIONS x T-H 0 CSJ-228

Case 2: 24- Cv-11243-GAD-Cl ECF No. 1, PagelD.61 Filed oninole4 Page 61 of 100 By V

10/10» 4835-3228

Fagilty Code: | Lock; “O/ [2
Leyes ak E&_| Ofe/2)
Time and Place of Violation: Contraband Removal Record Provided to Prisoner?
fn ! ~ Yes Date LJ NA

Misconduct Class: JA } Cin El freon Thee eh Cpa reggae |9eh eee

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le va eee" (if contraband inyolved, describe in detat, identi eee agyplo tn KhewK.
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ppriierer Reyes Worcls orel ations exprresect intent fo Physically gr —
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Prisoner Number: Prisoner N

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ba : . _ TT :
: | Elevaied to Class | at review: | If "yes", explain reason

{[] No [Yes

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_ COMPLETE THIS SECT Tow : RA EVIEW OF = CLASS I | MISCONDUCT
Status Pending Heanng: [1 Bona ~ Oo Confinement to Geli/Room t | Other
: FAieason i New Sond m7 blon-Sse Last ” ‘egsan}
fine 2 3 3 ws. - oe ee Lear tl Housing Unit of Status: <. on
rearing invesugator Requesied? Mo (Cl ves oninesss Requested? [] No [] Yes

:
Vives. bel

| Relevant Oocumsnis Requested” No ) Yes

> 'Wawes 24 Hour Notice of Hearing? [1 No £4 Yes

Eos a
aig Officer's Signature Review Date and Time
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av@ receivec a copy of this reporL My signgiure Goes sol | Pasarers Signature Date : 7

arity mean that i iagree with he report i ~
ISONEt Fefused to sign. Copy givea to 0 prisoner

WAIVER GF OF Hi HEARING

ri understand | nave aright io a hearing | waive ray rignt io
ta hearing and plead guilty io all charges. | also wave my ‘
ign to apoeai and accep the sanctions impossa

qaiure Date

SANCTIONS IMPOSED (Hearing inve 3 begin and end dates for Class II misconduct

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__ Days Toplack Begins: _ Enecs: L) Counselin nye HaaVOE lass WI only)
_ Days Loss of Privileges Begins: ads; Crgarings i nye BAP Ciass I only)
Hours Extra Duty Begins: Ends:
Property Disposition If Applicable: OCT 26 2021
Employee Accepting Plea and Imposing Sanction (Print) [E moployee’s Signature " Date
| Austin
t |
riearing investigators Name (Print) | Hezring Investigator's Signature Date
|
|

Dictnifi tian:

Prsanar Counsalar File’ Reenrd Office File (Class | and i)’ Central Office File (Glass 1): Hearing investiaator (Class | & Class Ii

Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.
ae

Filed 05/10/24 Page 62 of 100
MICHIGAN DEPARTMENT OF CORRECTIONS O86
REQUEST FOR REHEARING RESPONSE

PRISONER NUMBER Name: Facility:

266511 Reyes JCF
Misconduct Date: Hearing Officer: Hearing Date: Received Date (1) Warden RFR
10/4/2021 071 10/12/2021 11/10/2021 P M] Prisoner RFR

ist Charge 012 012 - Threatening Behavior
2nd Charge
3rd Charge
4th Charge:
4| REHEARING DECISION >|

A request for rehearing in the above referenced matter [s submitted by the prisoner who continues to argue his case
but offers no new verifiable evidence not available at the original nearing.

PD 03.03.105 “Prisoner Discipline” and its attachments contain the definitions of the misconduct charges and gives
notice of how and what a prisoner may be charged with and that a rehearing shall be granted only for the following
reasons!

1, The record of testimony made at the hearing is inadequate for the purpose of judicial review,

2, The hearing was not conducted pursuant to applicable statutes or policies and rules of the Department and the
deviation from policy, rule, or statue resulted in material prejudice to either party.

3. The due process rights of the prisoner have been violated.

4, The decision of the hearing officer is clearly not supported by competent, material, and substantial evidence on
the whole record,

5. The officer who conducted the hearing was personally biased,

In this case, the prisoner was charged with and found guilty of Threatening Behavior, All issues ralsed at Request for
Rehearing were adequately addressed by the Administrative Law Judge (ALJ) in the hearing report.

A rehearing is granted only when tt appears a prisoner may not have received due process, or in the rare case when
new, verifiable, and relevant evidence is presented that was not available at the time of the hearing. Neither of these
conditions has been met.

The hearing was conducted pursuant to applicable statute, and policy and rules of the Department. The decision of
the hearing officer is supported by competent, material, and substantial evidence on the whole record. No bias is
apparent and there is insufficient evidence presented on appeal that would support granting a rehearing on the
matter.

The Request for Rehearing is DENIED.

Decision: [_] Anproved .
PF beni [} Retumed without action; Not filed within 30 calendar days Date Mailed:
Denied [iliiumil> 0 202?
os D MAR 8
4 RICHARD D. RUSSELL, HEARINGS ADMINISTRATOR MAILE

30276

’24-cv-11243-GAD-Cl ECF No. 1, PagelD.63 Filed 05/10/24 Page 63 of 100

go ‘ }

Pot ;
{ i C5)-418
HIGAN DEPARTMENT OF CORRECTIONS ok REV 10/10
EQUEST FOR REHEARING 4835-3418

INSTRUCTIONS

1. This form is to be used only to request reconsideration of the decision of a hearing officer on one of thé
Class 1 Misconduct,

Notice of Intent to Classify to Administrative Segregation.

Special designation which permanently denies Community Residential Program (CRP) place
Visitor restriction.

High or very high risk classification.

Excess legal property hearing. .

g. Special Education Individual Education Planning Committee (IEPC) hearing.

m7meanorm

Class 1 Misconduct Report. If they are not attached, this form may be returned to you without a decision.

not have to include a copy of the Hearing Investigation packet. :
3. Submit the completed form to: Hearings Administrator, Department of Corrections, Office of Legal Affairs, P.O.

Box 30003, Lansing, Michigan 48909. This form must be received by the Hearings Administrator within 30
calendar days of the date of the decision by the hearing officer,

¢ CG DECISION
pp essere Se ‘
“AT acye,

PRISONER'S NUMBER PRISONER'S NAME INSTITUTION
| ROG ii lytone Keyes WCE
DATE OF MISCONDUCT TYPE OF HEARING (IF/MISCONDUCT, LIST CHARGES ALSO)
iO “4- 207 § { |. Feat = , mye dy »)
DATE OF HEARING mens Hg) Deha vior Coin
JO -12- 2072}
Briefly explain why you believe a rehearing should be ordered: ‘ , .
—_— oO Le po] i \ s .
Tssve 2197. dd not ask Sor an Travest otor, iawndy

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plus years On Xw MSpace ould Ve Ww el eqha dee this
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instead Lose @ SUMMONZE Account oF What TL
ored onion WAS o-oner € near Drak AL stored.

SIGNATURE OF PERSON REQUESTING REHEARING DATE

noe Ro rhie Nov, dnd, AOR

L] Approved - Rehearing Ordered

L] Returned without action - Not filed within 30 calendar days

HEARINGS AD. ISTRATOR - DATE
2 Vv nef fo MAILED ar 3.0 2022

DISTRIBUTION: White - Hearings Administrator; canary“ Person Requesting Rehearing

MICHIGAN GASSARTeMOMOLZARGARSCI ECF No. 1, PagelD.64 Filed we ai Page 640} 64 of 100 65, >408

CLASS | MISCONDUCT HEARING REPORT Rev. tone
Prisoner Prisoner Name Facility Code Violation Date
266511 Reyes JCF ae 10/04/2021
Charge(s)
(012) Threatening Behavior
if Charge Changed by Hearing Officer Plea
L_] Guilty PX] Not Guilty
Misconduct Report Read to and Discussed with Prisoner [X) tcheck if apoties) No Hearing Investigation Requested
Hearing investigation Read to and Discussed with Prisoner Bd (check if applies) [4] (check if applies)
EVIDENCE/STATEMENTS IN ADDITION TO MISCONDUCT REPORT
Prisoner present. The nearing was conducted by video, The prisoner was confined since October 4. ALJ read the
misconduct report and investigation to the prisoner in their entirety. The hearing packet consists of the Misconduct Report (1

| page), Hearing Investigation Report (1 page}, statement from the prisoner (1 page), Witness Statement (Prisoner Klock
#703264) (1 page), emait from Officer Hamilton (1 page), Memorandum from Hearings Investigator (1 page}, CSJ-572C (1
| page). Misconduct Sanction Screening Form (1 page), Offender Restriction Filter Report (1 page}, and video from the
:prison’s surveillance system (heid confidential but summarized for prisoner) (1 disc).

; * Continued on page 2.

REASONS FOR FINDINGS

Due process: the prisoner has a hearing impairment. His preferred method of communication is talking loud. ALJ spoke
ilcudty and deliberately during the hearing. ALJ finds that the prisoner was able to understand and communicate effectively
with ALJ based on his ready communications with ALJ and appropriate responses to questions. In addition, the prisoner
said that the reviewing sergeant spoke loud enough for the prisoner to hear him. ALJ finds that the prisoner was able to
|communicate and participate meaningfully in every stage of the hearings process. There was no due-process violation.

**Continued on page 2. .
Pee Hearings Investigator

OCT 29 2671
| Austin
| PROPERTY DISPOSITION (for contraband see PD 04.07.112)
|
FINDINGS
Charge No. 1 CI Guilty CI Not Guilty ( Dismissed Reparting Code 012
| Charge No. 2 PF] Guilty [] Not Guilty (Dismissed Reporting Code
| Charge No. 3 ET Guilty [] Not Guilty [1 Dismissed Reporting Code
: Charge No. 4 L] Guilty {] Not Guilty CL] Dismissed Reporting Code
DISPOSITION (select one or more) (Toplock & LOP Sanctions End at 6:00 am} ~
Begins Ends
10 Days of Detention 10/42/2021 16/22/2021 Days Credit
Days Top Lock Hours Extra Duty
30 Days Loss of Privileges 40/22/2021 11/21/2621 $ Restitution *
Misconduct Hearing Report personally handed to Prisoner by | Hearing Report given to Staff Member by Hearing Cfficer for Delivery to
Hearing Officer on this date: (Check if Appiies) (] Prisoner this date: 10/14/2021 (Check if Applies}
Date of Hearing 10/12/2021 Name of Staff Member HI Austin - JCF
Hearing Officer's Name’ Hearing Officer's Signature Date

071 Schneider WL. Eo Eibhuc£D 10/14/2021

DISTRIBUTION © Record Office O Central Office File © Prisoner O Counselor File O Hearing Investigator

Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.65 Filed 05/10/24 Page 65 of 100

MICHIGAN DEPARTMENT OF CORRECTIONS ce a vaca
CLASS | MISCONDUCT HEARING REPORT — Continuation Page No. 2
(Type of Hearing)
Prisoner Number Prisoner Name Institution Violation/Natice Date
266511 Reyes JCF 10/04/2021:

(Continued from Page One: Evidence/Statements}:

Prisoner's testtmony: ALJ asked the prisoner his preferred method of communication, and he said, “As long as I'm
looking, | can hear everything they saying.” ALJ asked the prisoner if he can hear ALJ, and he said, “Yes sir.” ALJ asked
if he could hear Sgt. Cooper at review, and he said, “Yes sir.” ALJ asked the prisoner for his plea, and he said, “Not
guilty" ALJ asked if he said the quoted words, and he said, “No sir." ALJ asked if he said something similar, and he said,
“No sir.” ALJ asked if someone else said it, and he said, “No sir.” ALJ asked why the officer would fabricate this, and he
said, “Someone make a statement about his wife earlier, and he looked at me because | end up giggling. The person he’s
referring to, | did get into a argument with him, but | never threatened that person. He saw an opportunity.” ALJ asked the
prisoner if he had anything else to add, and he said, “No sir." ALJ asked the prisoner why he removed his glasses and
summoned Prisoner Klock to the back area, and he said, “Asked him to come to the back to discuss it."

Video: at 11:10:40, Prisoner Reyes #266511 {white jumpsuit. glasses, no mask} maved over by two carts with apples on
them. He picked something up and waived it at the line workers while yelling something. Reyes and Prisoner Klock
#703264 (line worker, mask down on chin) yelled back and forth, At 11:11:01, Reyes suddenly walked around the serving
line to the backside toward Klock while removing his giasses. He started to walk through a doorway to the rear kitchen
area, but Klock did not follow. Reyes thea turned and walked toward Klock. He got right in Klock’s face and walked
through a different doorway to the kitchen area. Klock took a couple steps as if about to follow but then turned back. As
he did, Officer Mask was approaching while calling for backup on his radio. Reyes, not yet having seen Mask, came back
out yelling at Klock, and Mask gestured to him. Reyes turned and left, and Mask pursued him.

(Continued from Page One: Reasons for Findings):

Threatening Behavior is “[wlords, actions, or other behavior [that] expresses an intent to injure or physically abuse
another person. Such misconduct includes attempted assault and battery." MDOC PD 03.03.105A. The prisoner is
accused of yelling at Klock, “I will came back behind hot counter and fuck you up. [will beat your ass right now" and
“Come in the back so i can beat your ass. | will fuck you up you little bitch.” The prisoner admits to arguing with Kiock and
summoning him to the back kitchen area but denies making any threat. On the video, Reyes took his glasses off while
approaching Klock, a classic sign of an intent to fignt. They could have argued from a distance across the counter. There
was no reason to close that distance but to express an intent to use physical force on Klock. That's consistent with the
officer's report of the prisoner's alleged words. As to the prisoner's explanation that he summoned Klock to the back to
talk, that's not credible. They could have and did speak out in the dining area. There was no reason to summon Klock to
the back but to fight him there where they would not be seen by staff.

Overall. ALJ finds the greater impression to be that the prisoner did yell the quoted statements at Kiock. ALJ finds that
the prisoners words and actions expressed an intent to injure Klock because approaching him aggressively while
removing his glasses was an aggressive action that meant an intent to fight Kiock. Also, “fuck you up” and “beat your ass"
are commonly understood to mean an assault. The elements of the offense are met, and tne charge is upheld. The
prisoner was informed of the findings, sanctions, and sanction dates.

The prison video recording is held confidential because its release would reveal the capabilities of the prison
surveillance system, allowing prisoners to !earn of and defeat prison security measures.
END OF REPORT.

HEARING OFFICER'S NAME & CMIS CODE (Typed) | Copy of Hearing Report personally handed to
ALE Schneider 071 Prisoner by Hearing Officer this date (check if applies} L)
HEARING OFFICER'S SIGNATURE Copy of Hearing Report Given to Staff Member by Hearing
Officer for Delivery to Prisoner this date 10/14/2021 (check if applies) [x]
s/ ALJ Schneider Date of Hearing (Name & Clock No. of Staff Member),
i. 10/12/2021 Hear ings adnyestigator

DISTRIBUTION: White - Institution. Green —- Central Office, Canary - Prisoner, Pink - Visitor/Counselor, Goldenrod “ey prestigater
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| MISCONDUCT REPORT {Lek oe ~ rwiew 4835-3
Prisoner Number: Prisoner Name: . of Facility Coder Lock: Violation Date:
266511 Reyes JCF E-60 11-02-2021
Time and Place of Violation: Contraband Removal Record Provided to Prisoner?
4115hrs upper left bathroom |({ Yes Date EX] NYA
Misconduct Class; [] 1 Bou Eom -  Charge(s): Out of place

Describe Violation (If contraband involved, describe in detail: identify any other employee witnesses):

Duging Formal count | directly observed Prisoner Reyes 266511 coming from the upper left bathroom to his room E-60 . Prisoner Reyes did
not have Staff Authorztion to be out of his room at that time.

Prisoner Reyes 266511 Identified by Daily contact and E-Unit count board.

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a

“Reporting Staff Member's Name (Print) Reporting St ftMembers Sinatire” ° - | Date and Time Written
C/O Fridd “T .

Location/Verifi ication/Condition of Evidence:

Elevated to Class | at review: | if “yes”, explain reason:
[] No El Yes a
duce r ‘* COMPLETE THIS SECTION ONLY FOR REVIEW OF CLASS I MISCONDUC’ :
Status Pending Hearing: [] Bond [] Segregation C] Confinement to Cell/Room CL] other
wee _f Reason if Non-Bong: aah LIL. Nor- Bond List [-] Bond Revelscd (must give reason}. - BRT GT Lie Rte stent ete Sa oT
Date and Time Given this Status: , wre Notified in ong of, Status: j
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Relevant Documents Requested? a No () Yes { ge TIE ee .
If yes, list: ne :
}
Additional Comments: Prisoner Waives 24 Hour Notice of f Hearing? CJ No - E] Yes
Hearing Date: begs ig:
Reviewing Officers Name (Print ) Reviewing Officer's Signature Review Date and Time
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! have received a copy of this report. My signature doeg not Prisoner's Signature ‘y ‘ , Dates "  -
necessarily mean that | agree with the report. - - |. od, PE PEE ty te ye tae
td Prisoner refused to ) sign Cog given to prisoner. ne ‘ he
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 WRIVE WOR 7

t understand t have a Fight t tc a hearing. | waive my right to Prisoners Signature
a hearing and plead guilty to all charges. | also waive my’
right to appeal a and accept the sanctions imposed. |

SANCTIONS IMPOSED (Hearing Investigator. enters. begin a Fie ;

oO Counseling/Reprimand (Class ili only)

oe Days Toplock Begins| » Ends: r
- Days Loss of Privileges Begins: - : Ends: a C$ Restitution (Class II only)
Hours Extra Duty Begins: Ends: .. __ :
Property Disposition if Applicable: ; -
yf 7 - = 7
Employee Accepting Plea and Imposing Sanction (Print) Employee's Signature. . . , Date
i
Hearing Investigator’s Name (Print) Hearing Investigator’s Signature . \ ~, | Date
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Distribution: Prisoner, Counselor File; Record Office File (Class | and II): Central Office File (Class I), Hearing Investigator (Class | & Class II}

Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.67 Filed 05/10/24 -: Page 67 af A ge

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4835-4247? 10/94:
CSI-B47A"

MICHIGAN DEPARTMENT OF CORRECTIONS .
PRISONER/PAROLEE GRIEVANCE FORM

Date Received at Step 1 _\: Grievance Identifier: L

Name (print first, last) Number Institution ¢

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* State problem clearly. Use separate grievance form for each issue. Additional pages, using ee, paper, “may
Four copies of each page and supporting documents must be submitted with this form. The grievance must be submitted

‘to the Grievance Coordinator in accordance with the time limits of OP 03. 02. 130. 0G. fr Cobb ar J

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rego ved at Step 1, Grievant sign here. 8

Case 2:24+0v-11243-GAD-Cl

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MICHIGAN DEPARTMENT OF CORRECTIONS

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ECF No. 1, PagelD.68 Filed 05/10/24 Page 68 of 100 =...

4835-4248 5/09

PRISONER/PAROLEE GRIEVANCE APPEAL FORM

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Date Received by Grievance Coordinator: Grievance Identifier: “ih: ‘lt | } [i | pepiee yp? t Loeb i |

at Step II:

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CSJ-247B

INSTRUCTIONS: THIS FORM IS ONLY TO BE USED TO APPEAL A STEP I GRIEVANCE. |

The white copy of the Prisoner/Parolee Grievance Form CSJ-247A (or the goldenrod copy if you have not been provided
with a Step I response in a timely manner) MUST be attached to the white copy of this form if you appeat it at both Step

II and Step ILI.

If you should decide to appeal the Step I grievance response to Step IJ, your appeal should be directed .to:.,
by . If it is not submitted by this date, it will be considered:terminated.

if you should decide to appeal the response you vecete. at Step II, you should send your Step III Appeal to the Director's
Office, P.O. Box 30003, Lansing, Michigan, 48909, bo

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STEP II — Reason for A ~~ cont a t. bosia -2 .
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STEP_II — Response 3 ; .
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STEP III — Reason for Appeal Faci\4 / Memnsttot BAIS confinval caver,
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NOTE: Only a copy of this appeal and the response will be returned to you.
STEP IitI — Director’s Response is attached asa separate sheet.

Olena Peak.

DISTRIBUTION: White - Process to Step III; Green, Canary, Pink - Process to Step II;

Goldenrod - Grievant
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Wine UO REE SALE TY 24 SEO APC Pe PagelD.69 F 5/10/24 Page 69 of Udecey
Case CE Nop droge iled O5/10/ age 690 LER

_GLASS tl AND IIk MISCOND UCT HEARIN 10/10
GENERAL INFORMATION |

Prisoner Number Prisoner Name Facility Code Violation Date

‘266511 Reyes JCF 11/2/21
MISCONDUCT VIOLATION Oe

Hearing Misconduct Charges

Class II P| Out of Place

Class It C]

Misconduct Charge if Changed by Hearing Officer Plea

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appeal and accept the sanctions imposed.

K) Guilty 0 Not Guilty
WAIVER OF HEARING..: =.

| understand | have a right to a hearing. | waive my right to a Prisoner's Signature -
hearing and plead guilty to all charges. | also waive my right to ‘

Date

~ me “HEARING REPORT (Do Not Compiete tress Waived) — Te
Evidence and/or prisoner statement in addition to misconduct report: Prisoner Reyes reported the day the 2 alleged
misconduct occurred was on the day the facility was being mass tested for COVID 19. Prisoner Reyes reported after he was
tested for COVID, he returned to his cell and went tagleep. Prisoner Reyes | reported he doesn’ { remember coming out to go
to the bathroom during count, however, it is possible>

Reasons for findings: Based on the information provided in the misconduct and Prisoner Reyes statement, it was —~
determined Prisoner Reyes is guilty of this misconduct. Prisoner Reyes was present during this hearing and was informed of
the sanctions imposed. Prisoner Reyes has received four misconducts in the past two years. Prisoner Reyes was given one
day LOP. Prisoner Réyes is deaf and hard of hearing. Prisoner Reyes primary means of communication is voice without
hearing aids. Prisoner Reyes reported he was able to undejstanc me, ande ive cgmmunication was: achieved be based on

| Prisoner Reyes appropriately responding to me. co -
FINDINGS :
Charge1 [&] Guilty CL] Not Guitty LC] Dismissed CMIS Code 436
Charge2 LC) Guilty) \ Ol. Not Guilty* ° AE] Dismiskéa: | GMIB Godef__, at sou pe fet a
Charge 3 [1 Guilty L] Not Guilty EJ Dismissed GMIs feo
Charge 4 O Guilty, , AiG Not Guilty fo [1] Disthiss lea}. + ears ‘cb whe a Fh yf Ty ¢ cel
SANCTIONS (Hearing Investigator enters besipang pe rea dates) “he
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_.-—s—« Hours Extra Duty Begins: te Ends: ‘oO $ xe H only)
Property Disposition if Applicable: ie + °
Misconduct Hearing Report given to Hearing Investigator for Deiivery to Prisoner this date: “4724 —
Hearing Officer's Name (Print) Hearing Officer's Signature Hearing Date
LT. M. Losacco Fe fa be . 11/7/21
Hearing Investigators Nigme (Print) Hearing investigator's Signature Date
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Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.70 Filed 05/10/24 Page 70 of 100 | 5 BP

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MICHIGAN DEPARTMENT OF CORRECTIONS 4835-4247 10/94
PRISONER/PAROLEE GRIEVANCE FORM CSL247A
Date Received at Step I : Grievance Identifier: [- [. 1 | el: | Wy V4 ul Li L. iy il | 2 gt |:

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State problem clearly. Use separate prievi ance form for each issue. Additional pages, using pA im paper, may be used
Four copies of each page and supporting documents must be submitted with this form. The grievance must be submitted .

to the Grievance Coordinator in accordance with the time limits of OP 03.02.130. oS foo Lt, f
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RESPONSE (Grievant Interviewed? LI Yes LJ No If No, give explanation. If resolved, explain resolution.)

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Respondent’s Signature Date ’ Reviewer's Signature Date
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Respondent's Name (Print} Working Title Reviewer's Name (Print) Working Title
Date Returned to If resolved at Step 1, Grievant sign here.
| Grievant: . : ‘ : :
jicc gy Resolution must be described above. Grievant's Signature Date

DISTRIBUTION: White, Green, Canary, Pink — Process to Step One; Goldenrod — Grievant

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4835-4248 5/09

MICHIGAN DEPARTMENT OF CORRECTIONS
CS)-247B

PRISONER/PAROLEE GRIEVANCE APPEAL FORM

Date Received ya Coordinator Grievance Identifier: Tay > |\ i\ | | \ 9 ) ” [ iXS|

at Step IJ: \

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INSTRUCTIONS: THIS FORM IS ONLY TO BE USED TO APPEAL A STEP | GRIEVANCE.
The white copy of the Prisoner/Parolee Grievance Form CS}-247A (or the ggldenrod-copy if you have-not been provided
with a Step I response in a timely manner) MUST be attached to the white cOpYCOT RA Ss form ifiyourappeal it at both Step
Il and Step II. |
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If you should decide to appeal the Step I grievance response to Step I], your appeal should be directed to.)

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(aC by \ \- 40- >\ _ If itis not submitted by this date; (tay De gansidered terminated.

If you should decide to appeal the response you receive at Step II, you should send your Step III Appeal to the Director's
Office, P.O. Box 30003, Lansing, Michigan, 48909.

Name (Print first, last) Number Institution Lock Number | Date of Incident | Today's Date

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STEP IX — Reason for Appeal “> en oak Cet Ws Lacey Aogay Cite Ie 2) ord is ploeing it iF
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STEP II — Response
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NOTE: Only a copy of this appeal and the response will be returned to you.

STEP III — Director’s Response is attached as’a separate sheet.

DISTRIBUTION: White - Process to Step III; Green, Canary, Pink ~ Process to Step II; Goldenrod - Grievant
Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.72 Filed 05/10/24 Page 72 of 100

rySe

STATE OF MICHIGAN
GRETCHEN WHITMER DEPARTMENT OF CORRECTION. HEIDI E. WASHINGTON
GOVERNOR LANSING DIRECTOR
STEP Ll GRIEVANCE DECISION Rec#. =: 132408
28)
To Prisoner: Reyes #: 266511

Current Facility: JCF
Grievance Identifier: © JCF-21-11-1977-283
Step DI Received: 1/5/2022

Your Step III appeal has been reviewed and considered by the Grievance Section of the Office of
Legal Affairs in accordance with PD 03.92.130, "Prisoner/Parolee Grievances”.

THE REJECTION IS UPHELD.

THIS DECISION CANNOT BE APPEALED WITHIN THE DEPARTMENT. — FEB 9 4 20997

Aatl!

Richard D. Russell, Manager Grievance
Section, Office of Legal Affairs

CC: Warden, Current Facility: ~
Warden, Grieved Facility: JCS

GRANDVIEW PLAZA + P.O. BOX 30003 + LANSING, MICHIGAN 48909

Case 2:24-cv-11243-GAD-CI ECF No. 1, PagelD.73_ Filed 05/10/24 Page 73 of tye 2
C

MICHIGAN DEPARTMENT OF CORRECTIONS GO C8274

CLASS II AND CLASS Ill MISCONDUCT APPEAL 52748

4835-3274
| INSTRUCTIONS

1. This farm is to be used SOLEY for appealing Class and Class III hf
hearing decision, a Request for Rehearing {CSJ-4 18) must be filed.
This form must be submitted within 15 calendar days after receipt of the hearing officer's written decision.

Ciass I hearing decisions are appealed to the Deputy Warden

Class Ill hearing decisions are appealed to the Assistant Deputy Warden (ADW). (NOTE: Prisoners at Woodland Cen

and the Women's Huron Valley Correctional Facility (WHV) appeal to a Captain designated by the Warden.)
5. State your reason for appeal.

6. Attach a copy of misconduct and nearing report.

earing decisions. If a Class il or Class III decision was combined with a Class !

Banh

ter Correctional Facitity (WCC)

A rehearing shall be ordered if any of the following are found to have occurred:
a. The hearing was not conducted pursuant to Department
material prejudice to the prisoner,
b. The prisoner's due process rights were violated.
c. The decision of the hearing officer is not supported by the evidence on the record.

policies and procedures and the departure from policy and procedure resulted in

Prisoner's Number Name | Block/Unit Number Ceil/Room Number Date of Incident
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Date of Heanng Misconduct Class i) OC) Wl Charges) Sentence / :
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APPEAL RESPONSE:

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L_] Disapproved ny) Approved [_] Returned without action — not filed within 15 days

ee Deputy Warden (Class 11); Signature of ADWIWCC/WHY Captain (Ctass Ill} Date

em . - ve (Class (I), ADWAVCC/WHV Captain (Class il); CANARY - Retained by Prisoner

Case 2:24-cv-11243-GAD-Cl ECF No. J¢ PagelD. 74 Filed 05/10/24 Page 74 of 100. .

WALD tye

= MICHIGAN DEPARTMENT OF CORRECTIONS . 4835-4247 surya
-PRISONER/PAROLEE GRIEVANCE FORM a. CSI-247A_

Date Received at Step J \ \s: 3h Grievance Identifier: Pack {3 i Lil L Wass

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MT Yes LINo If No, give explanation. Iereobed explain resolution)

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Respondent’s Signature ) Date Reeng ‘Sieg cL] i . “Date Ta
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Respondent’s Name (Print) ~~ Working Title rene 5 gat Print ’ Working et

Date Retumed to If resolved at Step I, Grievant sign here. .

Grievant: ) 1-}3- \_ | Resolution must be described above. Grievant's Signature ‘Dare

DISTRIBUTION: White, Green, Canary, Pink — Process to Step One; Goldenrod — Grievant

a possible he came out of his cell at count time and went to the bathroom. Prisoner Reyes was found:
this information. See attached hearings report. It also shail be noted, prisoners are not authorize tg fil grievane

‘| PD.04.0 156 Deaf arid/or Haid: ‘of Hearing Prisoners
-} PD 03.03.105 Prisoner Discipline
PCF op 04. 04, 100.

This grievance is being denied at step I.

Case 2:24-
cv-11243-GAD-Cl ECF NALD PagelD.76 Filed 05/10/24 Pageve NS

MICHIGAN ‘DEPARTMENT OF CORRECTIONS 4835-4248 5/09
PRISONER/PAROLEE GRIEVANCE APPEAL FORM cS)-2478

Date Received by i Sea f° Coordinator Grievance Identifier: IS as (>, \ | \\ \ | Ae q, S S | i i} Al

at Step il:

INSTRUCTIONS: THIS FORM IS ONLY TO BE USED TO APPEAL A STEP I GRIEVANCE,

The white copy of the Prisoner/Parolee Grievance Form CSJ-247A (or th enrod-copy if you pave not been provided
with a Step I response in a timely manner) MUST be attached to the white fgpyfor this’ fortaltyou ppeal it at both Step
Tl and Step III.

| jan @6 2022
If you should decide to appea the ie I grievance response to Step II, you appeal should be directed ‘
7 t t tted ~data,¢ 1ebeadd& dered terminated.
GC \\-34- \ _ if it is not submitte by fits itil

If you should decide to appeal the response you receive at Step II, you should send your Step I] Appeal to the Director's

Office, P.O. Box 30003, Lansing, Michigan, 48909.
Lock Number | Date of Incident Today’s Date
Eee W-29-2

Name (Print first, last) Number Institution

ee eyes. pues _| SCF nga

seb 11 — Reason for Appeal Bing 0 OW A. oD, personer , 1 arn Ss uppesed +0
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STEP II — Response Date Received by

Step II Respondent:
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OCLOMANW Yor PP 6362.12D aNd THe
SLIT response 1s Seared Ber Ser

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Respondent's Name (Print) Respondent’sA¥g 5 /pgnature Da

Date Returned to
Grieyant:
VASO
STEP III — Reason for Appea! Coa<den Nooy S vppor oy st 7 espsnse iS Qin,
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NOTE: Only a copy of this appeal and the response will be Ore to you.

STEP IIL — Director’s Response Is attached as a separate sheet.

DISTRIBUTION: White - Process to Step II]; Green, Canary, Pink - Process to Step II; Goldenrod - Grievant

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Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.77 Filed 05/10/24 Page 77 of 100

A-SC

STATE OF MICHIGAN
GRETCHEN WHITMER DEPARTMENT OF CORRECTIONS HEIDI E. WASHINGTON
LANSING DIRECTOR

STEP Ill GRIEVANCE DECISION
Rec #: 132415

17A

To Prisoner: Reyes #: 266511
Current Facility: JCF

Grievance Identifier: JCF-21-11-1955-17A

Step III Received: 1/5/2022

Your Step III appeal has been reviewed and considered by the Grievance Section of the
Office of Legal Affairs in accordance with PD 03.02.130, "Prisoner/Parolee Grievances”.
Upon examination it has been determined that your issue was in fact considered,
investigated, and a proper decision was rendered.

THE STEP II APPEAL IS DENIED.

THIS DECISION CANNOT BE APPEALED WITHIN THE DEPARTMENT.

FEB
hea tl? Date Mailed: 07 eae

Richard D. Russell, Manager Grievance
Section, Office of Legal Affairs

ce: Warden, Filing Facility J CE

GRANDVIEW PLAZA: P.0. BOX 30003 + LANSING, MICHIGAN 48909

Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.78 Filed 05/10/24 Page 78 of ENS T

MICHIGAN DEPARTMENT OF CORRECTIONS
CONTRABAND REMOVAL RECORD

4835-3284
CSJ-284 12/01

ff
Date: Ie3 j2 mre ~ Staff Member's Name: C/p My wba

Badge No:

Prisoner Name:

le es ee EES

Lock: f- _ 4O

Facile ve Ee

Location Contraband Found: rc
poe boc

Item | DescRIPTION AND REASON FOR CONFISCATION (Descrie FuLcy):

1) Pius woebeul RTC wn ce
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O HEARING OR o INSPECTION
© RETURNED TO Prisoner AFTER INSPECTION & WitHOUT ACTION TAKEN Date TIME
PRISONER - PRINT NAME: SIGNATURE:

DISTRIBUTION: = Vhite - File Copy; Canary - Prisoner, Pink - With Contraband;

Goldenrod - Attached to NOI/Misconduct Report

BARGMENT bee ReeetaNg=CF No. 1, PagelD.79 Filed 05/10/24 Page mony | 8 gg.
SCONDUCT REPORT : 4c cio sexe

risoner Number: Prisoner Name: Facility Code: | Lock:’ =| Violation Date:
266511 Reyes JCF E-60 9-4 14/23/2021.

Time and Place of Violation: Contraband Removal Record Provided to Prisoner?
1212 Cell 59 and 60 Kl Yes Date 11/23/2021 . CO WA

Misconduct Class). KJ) 1 CJ) u (tt Charge(s): Possession of a Weapon

Describe Violation (if contraband involved, describe in detail: identify any other employee witnesses): . co, + oo

On 11/23/2021 at 1212hrs | was instructed by Sgt Nevins to go search prisoner Reyes's (266511) room. In prisoner Reyes's footlocker, |

found a 7in metal rod. Reyes’s footlocker was at the end of buck #60 in his area of control. The metal ‘rod was photogr#phed and placed ir

evidence locker 23. | did shake down Reyes’s room at 1202 as part of my routine shakedowns but did not find the piece of metal at that.tin

Per Sgt Nevins's video review, the only people to go into cell 59 and 60 after my 1202 shakedown were prisoner Reyes and prisoner Warr
. *

2

684836. Prisoner Reyes was identified by his MOOC ID card. * Lo a,
(Please see attached room diagram, photo, and contraband removal) ry
peo ws .
| iis Covey we rat
Reporting Staff Member's Name (Print) ' Reporting Staff Member's Signature ‘. | Bate and-Time- Witten”...
C/O Poupard EO © | ,.11/23/2021,@1300:, +

Elevated to Ciass | atreview: | 4 “ves”, explain reason: : St t f
[4] No [] Yes eo
LT ee a _ . = . . 7 . — ™ a CIES:
So a - COMPLETE THIS SECTION ONLY: FOR REVIEW. OF GLASS EMISEONE eae
Status Pending Hearing: [[] Bond [-] Segregation [Y Confinement to CeljRoom e o
Reason if Non-Bond: C] Non-Bond List [_] Bond Revoked (must give reason) ag =
Date and Time Given this Status: Who Notified in Housing Unit of Status: oo se a
if eof ee / f 7 eo eu et we se - vl . a ! i‘
Hearing Investigator Requested? ([} No [i Yes Witnesses Requested? [4 No [Z} Yés.
If yes, list , Pe oor os, oe } -:
Relevant Documents Requested? fd No (] Yes OTB ee we
If yes, list: et ‘ ts
Additional Comments: oe, Prisoner Waives 24 Hour Notice of Hearing?’ ° FT No [} Yes: ..)
Hearing Date: Tot.
Reviewing Officers Name (Print ) Reviewing Officer's Signature “4 4, Review Date and Time
— oo a FF fe we oe er cee? ma
| have received a copy of this report. My signature does not | Prisoner's Signature ae Date. - 4
necessarily mean that | agree with the report. - Be Pn tote
L] Prisoner refused to sign. Copy given to pris : . ee
Prisoner's Signature . Fo ee of et
accept the sanctions imposed. Te oe .
oes SAI MPOSED (Hearing Investigator enters begin aid erid dated: for anlage 3 oN
Days Topiock Begins: Ends: 0 Counseling/Reprimand (Class itl only)
Days Loss of Privileges Begins: Ends: Cj $... Restitution (Class‘l only)
Hours Extra Duty Begins: Ends: _ vps Sota SE
Property Disposition If Applicable: oe ea _
Employee Accepting Plea and Imposing Sanction (Print) Employee's Signature * wo, Date - ’
Hearing Investigator’s Name (Print) Hearing Investigator's Signature — - oe "| Date 7 “of
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Distribution: Prisoner, Counselor File; Record Office File (Class | and il), Central Office File (Class |); Hearing Invesfigator (Class'1'& Class: th)
AS: .

Case 2:24-cv-11243-GAD-Cl ECE No. 1, PagelD. 80: Filed: OB/1 Olea: PAVE BO DILOe
feat EX: V/
MICHIGAN DEPARTMENT OF CORRECTIONS «= -
PRISONER/PAROLEE GRIEVANCE FORM

Date Received at Step 1

Grievance Identifier: |

Name (print first, last)
meme: :

i,

What attempt did you make to resolve this issue Prior to writing this grievance?. On what date?
If none, explain why. “Yo. oa,

Four copies of each | page and supporting documents must be submitted with this form. The grievance must b
to the Grievance Coordinator i in accordance with the time limits of OP 03:02.130. : or PUR Bete

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, _ Grievant’ 8 Signature
LPone » Op ew Pee EP is

RESPONSE (Grievant Interviewed? Ll yes LJ No Lf No, give explanation. If resolved, explain resolution.)

Respondent's Signature a Date Reviewer’s Signature

Resporident’s Name: (Print) Working Title Reviewer’s Name (Print) -
Date Returned to if resolved at Step I, Grievant sign here.

| Grievant: Resolution must be described above. Grievant's Signature

DISTRIBUTION: White, Green, Canary, Pink — Process to Step One; Goldenrod -— Grievant

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Respondent's Sigaanare . Date Reviewer’s Signatre
Respondent’ Name Pint) Working Tile Reviewer's. Name (iin) ,
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esolution must be described above. Grievant's Signative—

_. Case 2:24-cv-11243-GAD-Cl_ ECF No. 1, PagelD.81. FilechOmya@lide 4100 —— a,

MICHIGAN DEPARTMENT OF CORRECTIONS * | -
PRIS NER/PAROLEE. GRIEVANCE FORM =

Date Received at Step I

Name (print first, last) _ | Institution ©

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If none, explain why. “Ths Se pes vad Be
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RESPONSE (Grievant Interviewed? LJyes LINo _ IfNo, give explanation. ifr

DISTRIBUTION: White, Green, Canary, Pink —- Process to Step One; Goldenrod — Grievant .
~ PRISONER/PAROLEE GRIEVANCE FORM:

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OF CORRECTIONS

MICHIGAN DEPARTMF!

Date Received at Step I Grievance Identifier: Li { yf

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to the Grievance Coordinator in-accordance with the time limits of OP 03.02.130.

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RESPONSE (Grievant Interviewed? Llyes L1No © If No, give ——— if resolved, xp in.re

Respondent's Signature. — _ Date Reviewer’s Signature =
Respondent’s Name (Print) Working Title Reviewer's Name (Print
Date Retumed to. If resolved at Step 1, Grievant sign here.
Grievant: Resolution must be described above. Gtievant’s Signature”

DISTRIBUTION: White, Green, Canary, Pink —- Process to Step One; Goldenrod — Grievant

MICHIsGASEPARATENTIGZASRRAD HEIs ECF No. 1, PagelD.83 Filed 05/10/24 Pagers o(100 os) 2a08

CLASS | MISCONDUCT HEARING REPORT Rev. 10/10
Prisoner | Prisoner Name : a A Faéility,. Code | Lock Violation Date
266511 Reyes JCF E60 11/23/2021
Charge(s) - oR Ee TE ”
Possession of a Weapon
if Charge Changed by Hearing Officer |. 20304, CPOE Ree? eS -

L] Guilty Not Guilty
Misconduct Report Read ta and Discussed with Prisoner (X] (check if applies} No Hearing Investigation Requested
Hearing Investigation Read to and Discussed with Prisoner i (check if applies) T} (check if applies)

EVIDENCE/STATEMENTS IN ADDITION TO MISCONDUCT REPORT

Video was reviewed before hearing outside of prisoner's presence. This hearing was conducted via webcam. Prisoner was
present. | confirmed the Review was completed within 24 hours and 24-hour notice was given to the prisoner. | read the
Misconduct Report and reviewed the evidence with the prisoner, Prisoner was advised that at the conclusion of the hearing,

he will be told the decision, sanction and dates if any, and when completed, the report will be submitted to the facility for |
delivery. The Record was reviewed and consisted of: |
(1) Misconduct Report (1 pg)

{2} Hearing investigation Report (1 pg)

(3) Incident Report (1 pg)

(4) Email from Schubring (1 pg)

(5) Contraband Removal Record (1 pg)

(6) Photo of Items Seized (1 pg)

(7) Memo with Video Timeline (4 pg) *** Continued on Page 2

eo REASONS: FOR FINDINGS 2

CONFIDENTIALITY:

Exhibit 7, Memo with Video Timeline: and Exhibit 8, Video Surveillance: are marked confidential for facitity safety and
security and to avoid disctosure of camera locations and capabilities. Exhibit 9. Misconduct Sanction Screening Form: is
marked Confidential to avoid dissemination of an inmate's mental health information.

EFFECTIVE COMMUNICATION:

Sgt. Heskett included documentation on the Misconduct Report regarding his contact with prisoner at the Review. According
to the documentation, the sergeant identified prisoner's primary method of communication and confirmed the communication
was effective. It is logical to conclude that the sergeant used the method he identified. | find that the communication at
prisoner's Review was effective, and that prisoner was able to fully participate. HI Austin also documented her meeting with
prisoner. According to Hi Austin, she used prisoner's primary method of communication and confirmed the communication
was effective. | find that communication with the HI was effective, and that prisoner was able to fully participate. At hearing,
j Prisoner confirmed his primary method of communication. ***Continued on Page 2

| . PROPERTY DISPOSITION (for contrabarid see. PD 04.07.112)
| The weapon will be turned over to the Michigan State Police.

: Po  EESES art ty ee J ENDINGS.” SEEDS ata OE EO ale Be |
Charge No. 1 & Guitty C1 Not Guilty E] Dismissed Reporting Code 029
Charge No. 2 LI Guilty L) Not Guilty (Jj Dismissed Reporting Code |
Charge No. 3 () Guilty (1 Net Guilty (1 Dismissed Reporting Code
Charge No. 4 L) Guitty [] Not Guilty (C1 Dismissed Reporting Code
_ DISPOSITION (select one or more) (Toplock & LOP SanctlonsEnd at 6:00am). SO
Begins Ends
Days of Detention Days Credit
| 10 Days Top tock 11/30/2021 12/10/2021 Hours Extra Duty
30 Days Loss of Privileges 12/10/2021 01/09/2022 $ Restitution
Misconduct Hearing Report personally handed to Prisoner by | Hearing Report given to Staff Member by Hearing Officer for Delivery to
| Hearing Officer on this date: (Check if Appiies) 1] Prisoner this date: 12/1/2021 (Check if Applies) EX]
Date of Hearing 11/30/2021 Name of StaffMember HI Austin - JCF
Hearing Officers Name - _... | Hearing Officer's Signature. ii Dates,
073 Sutherland Ald Jithurlande 12/1/2021

DISTRIBUTION O Record Office O Central Office File O Prisoner O Counselor File O Hearing Investigator

#Casew2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.84 Filed 05/10/24 Page 84 of 100

MICHIGAN DEPARTMENT OF CORRECTIONS (ees a3
CLASS | MISCONDUCT HEARING REPORT — Continuation Page No. 2
(Type of Hearing}
Prisoner Number Prisoner Name Institution Violatioa/Notice Date
266511 Reyes JCF 11/23/2021

(Continued from Page One: Evidence/Statements).

(8) Video Surveillance

(9) Misconduct Sanction Screening Form (1 pg)

(10) Offender Restriction Filter Report (1 pg}

Video shows the officer conducting the search of prisoner's cell. The officer exits prisoner's cell at 12:01. Prisoner returns
to his cell at 12:02. As prisoner unlocks the cell door, prisoner looks around as if checking for staff. Prisoner's celimate
enters the cell at 12:03. Prisoner's cellmate closes the door, puts on his coat, and exits the cell at 12:04. Prisoner remains
in the cell moving objects. Prisoner exits the cell at 12:07. Prisoner leaves the unit, The same officer returns to prisoner's
cell at 12:16 and exits with the piece of metal, No one entered prisoner’s cell between the time prisoner left and the officer
returned.

Prisoner entered a not guilty plea.

Prisoner is HID designated. Prisoner confirmed his primary method of communication is Speak Loud without hearing aids.
| asked prisoner if he could clearly hear and understand me. Prisoner responded, "yes ma’am.” Prisoner agreed to
immediately interrupt if there was something he did not clearly hear or understand.

| asked prisoner about the charge. Prisoner responded, “! went directly inside my cell and started straightening up.”
Prisoner stated he felt a hard abject between legal papers but did not look at it. Prisoner stated his heart began “pumping.”
Prisoner stated he went to the dining hall looking for a sergeant. When prisoner did not find a sergeant in the dining hall,
prisoner stopped Facility Manager Schubring on the sidewalk.-Prisoner stated Schubring advised prisoner to return to his
unit and he would follow up on it. Prisoner returned to his unit. Concerned nothing was happening, prisoner went to Control
Center where he talked to Sgt. Nevins. Sgt. Nevins called the unit and requested a search. Sgt. Nevins also acknowledged
being notified by Schubring. Prisoner stated the same officer returned to prisoner's cell and conducted the second search.
Prisoner stated he did not have issues with Officer Poupard. Prisoner stated he was having issues with Officer Fridd and
filed grievances against the officer. Prisoner explained Officer Fridd checked prisoner's LOP that morning and was upset
that prisoner was not on sanctions. Prisoner surmised that Officer Fridd asked Officer Poupard to put the metal in
prisoner's footiocker. | asked prisoner what caused prisoner to believe that Officer Poupard would risk his job for Officer
Fridd. Prisoner responded, “I can only assume because they have a report with each other.” | asked prisoner if there was
anything else that he believed | should know or that he wanted me to know. Prisoner responded, “ne ma‘am.”

After informing prisoner of the decision, sanction, and dates, prisoner requested an appeal.

(Continued from Page One: Reasons for Findings):

Prisoner also confirmed he could clearly hear and understand this ALJ. Prisoner also agreed to immediately interrupt if
there was something he did not clearly hear or understand. Prisoner's responses were appropriate to the questions
directed to him. At the conclusion of the hearing, prisoner requested an appeal packet. | find that the communication at this
hearing was effective, and that prisoner was able to fully participate.

POSSESSION OF A WEAPON:

Per MDOC PD 03.03.105, Attachment A, Possession of a Weapon includes unauthorized possession of a piece, strip, or
chunk of any hard material which could be used as a weapon or in the creation of a weapon. Prisoner did not challenge
whether the item seized was a piece of hard metal that could be used in the creation of a weapon. The items seized was
photographed. | find that the item seized was a piece of hard metaf that could be used in the creation of a weapon. | find
that the piece of metal constitutes a weapon. Prisoner did not allege he was authorized to possess the metal. | find that
prisoner was not authorized to possess the metal. The only issue to determine is whether prisoner possessed it. There is
no dispute that the metal came from prisoner's footlocker. Prisoner's footlocker is his Area of Control. MDOC PD
03.03.105(F). | find that the alcohol was found in prisoner's Area of Control. ***Continued on Page 3

a

HEARING OFFICER'S NAME & CMIS CODE (Typed) | Copy of Hearing Report personally handed to
ALJ Sutherland 073 Prisoner by Hearing Officer this date (check if applies} Cy.
HEARING OFFICER’S SIGNATURE Copy of Hearing Report Given to Staff Member by Hearing Ee eaten,
Officer for Delivery to Prisoner this date 12/1/2021 (check if applies) [D<]
s/ ALJ Sutherland Date of Hearing {Name & Clock No. of Staff Member)
11/30/2021 HI Austin - JGE_

DISTRIBUTION: White — Institution; Green ~ Centrai Office: Canary — Prisoner. Pink - Visiter/Counselor; Galdenrod — Hearing Investigator ‘

& Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.85 Filed 05/10/24 Page 85 of 100

MICHIGAN DEPARTMENT OF CORRECTIONS CN ie ‘a3
4835-424
CLASS | MISCONDUCT HEARING REPORT - Continuation Page No. 3
(Type of Hearing)
Prisoner Number Prisoner Name Institution Viclation/Notice Date
266511 Reyes JCF 11/23/2021

(Continued fram Page Two: Reasons for Findings):

A prisoner is presumed to be.in possession of an item found in an area over which the prisoner has control and for which
s/he has been assigned responsibility even if the prisoner is not present. The prisoner shall have the burden of proof in
rebutting this presumption at a misconduct hearing. MDOC PD 03.03.105(F). In this case, prisoner argued he was set up.
Video showed only three people in prisoner's cell between the first and second search. They are: prisoner, prisoner's
cellmate, and Officer Poupard. Video confirmed prisoner's cellmate remained near door while retrieving his coat. Prisoner
was also in the cell with him. It is not credible to believe that prisoner’s cellmate was responsible for putting the piece of
metai in prisoner's footlocker. Prisoner argued the only other person possible is the officer. Likewise, MDOC argues the
only other person possible is prisoner. Both ignore themselves. Both were in the cell alone and accessed prisoner's
footlocker, Prisoner argued the officer set him up on behalf of another officer. MDOC argues prisoner placed the metal in
his own footlocker to set up the officer. Prisoner testified he had issues with Officer Fridd. Prisoner argued those issues
were Officer Fridd’s motive to set up prisoner. Prisoner's theory equally supports MDOC’s argument that prisoner had
motive to set up the officer. However, only MDOC’s claim is consistent with video surveillance and other evidence. Video
showed prisoner looking around before re-entering his cell. Prisoner appeared to be checking on the location of staff
before entering his own cell. Prisoner's behavior appeared like someone breaking into another inmate’s cell. Neither
prisoner's cellmate nor other inmates in the hail behaved similarly before entering their cells. At hearing, prisoner offered
no credible explanation for his behavior. However, if prisoner were carrying a piece of metal, it would explain why prisoner
was checking the hallway before entering his cell. Officer Poupard's statement is also inconsistent with prisoner’s claim. At
hearing, prisoner testified he has no issues with Officer Poupard. Prisoner argued Officer Poupard was doing a favor for
Officer Fridd. However, Officer Poupard stated he searched the cell and prisoner's footlocker at 12:02. Officer Poupard
was also certain the metal was not in prisoner's footlocker during the first search. The officer’s certainty made him
vulnerable to this accusation. It is not credible to believe the officer would intentionally expose himself to being accused of
setting up prisoner. If Officer Poupard had agreed to be an accomplice to Officer Fridd, it is logical to conclude that Officer
Poupard’s statement would be different. It is more likely Officer Poupard would have claimed to overlook prisoner's legal
paperwork where the metal was found; or the officer would claim he didn't thoroughly search the footlocker. It is logical to
conclude Officer Poupard statement would have created the possibility that the metal was in the footlocker before the
officer originally entered prisoner's cell. By being certain the metal was not in the footlocker during the first search, Officer
Poupard’s made himself a possible culprit for placing it in prisoner's footlocker. It is not credible to believe that Officer
Poupard would agree to set up an inmate he had no issues with, only to leave himself open to being accused of setting up
the same inmate. Further, prisoner admits he triggered the search. If the officers had conspired to set up prisoner, then
Officer Poupard did not have to place the metal in prisoner's footlocker. The officer could have simply claimed to have
found the metal during the first search. It was unnecessary for the officer to leave the metal in prisoner's footlocker.
Additionally, there is no evidence on this Record indicating another search was planned or scheduled for prisoner's cell ta
recover the metal. On the other hand, prisoner was in a hurry to have his cell searched again. Prisoner spoke with
Schubring on the sidewalk and then went to Control'‘Center when the subsequent search did not happen quickly. Itis
logical to conclude that prisoner wanted the metal found before the officer was no longer the last person in prisoner's cell.
Lastly, prisoner testified he did not look at the item before leaving the Unit. It is not credible to believe that prisoner found
an unknown object in his footlocker but did not look at it. | find there is insufficient evidence on this Record to rebut this
presumption of possession. | also find there is sufficient evidence on this Record to conclude that prisoner placed the
piece of metal in his own footlocker following the first search by Officer Poupard. | find that prisoner possessed the piece of
metal. Unauthorized possession of a piece of metal that could be used in the creation of a weapon constitutes Possession
of a Weapon. | find prisoner guilty of Possession of a Weapon. The charge is upheld.

Prisoner was informed of the decision, sanction, and dates.

END OF REPORT.

HEARING OFFICER'S NAME & CMIS CODE (Typed) Copy of Hearing Report personally handed to
ALJ Sutherland 073 Prisoner by Hearing Officer this date (check if applies) [_]
HEARING OFFICER'S SIGNATURE Copy of Hearing Report Given to Staff Member by Hearing
Officer for Delivery to Prisoner this date 12/1/2021 (check if appliesy Dx}:
s/ ALJ Sutherland Date of Hearing ~] (Name & Clock No. of Staff Member)
11/30/2021 HI Austin - JCF

DISTRIBUTION: White - Institution, Green — Central Office; Canary — Prisoner, Pink — Visitor/(Counselor. Goldenrod — Hearing investigator

0/24 Page 86 of 100

Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.86 Filed Q

PY 2.

CSJ-4190

Misconduct Report. If they are not attached, this form may be returned to you without a decision, You do fot have to mctude a
copy of the hearing investigation packet. .

3. Submit the completed form to: Hearings Administrator, Department of Corrections, Office of Legal Affairs, P.O. Box 30003,
Lansing, Michigan 48409. This form must be received by the Hearings Administrator within 30 calendar days of the date of the
decision by the hearing officer.

MICHIGAN DEPARTMENT OF CORRECTIONS REV. 19/19
REQUEST FOR REHEARING 4835-3418
[ INSTRUCTIONS

1. This form is to be used only to request reconsideration of the decision of a hearing officer on one of the following:
| a. Class 1 Misconduct. — |

b. Notice of Intent to Classify to Administrative Segregation. RECEIVED - MDOC

| c, Visitor restriction. |

d. High or very high risk classification. DEC 2 1 2021 !

é. Excess legal property fearnng. ‘ |

| fF, Special Education Individual Education Planning Committee (1EPC) hearing. Office of Legal Affairs

| 2. You MUST attach a copy of the hearing report to this request and, if appeaiing a misconduct hearing, a copy of s}i

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|

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|

“PRISONER'S NUMBER PRISONER'S NAME - [INSTITUTION
ACE STI a EYES oo
DATE OF MISCONDUCT ——S~«Y:SCTYY PE OF HEARING (1F MISCONDUCT, LIST CHARGES ALSC)
fh- A3-.2/ > Qe
* . -4 ot ~ SSF wes te .
GATE OF HEARING Class 2 OSSESscw Cr A L1po wv
(7 3orel _ . _-

Briefly expiain why you velieve a rehearing should he ordered:

SEE Ahtehil 3 Pages
[—/

|
{
\
| SIGNATURE OF PERSON REQUESTING REHEARING — DATE -

aT

fi es f2~ f/f _!

Da DECISION
a oisoorove .

$¢
‘ “Taye,

(_] Approved - Rehearing Ordered

LJ] Returned without action - Not filed within 30 <a'endar days

| HEARINGS ADMINISTRATOR SATE
cP OF eet Le _ MAILED APR 22 2022

DISTRIBUTION: Vwhite - Hearings Admyfustrator: Canary - Person Requesting Rehearing

Case 2:24-CVp L248 GAD-Cl ECF No. 1, PagelD, Filed 05/10/24 Page 87 of 100

MICHIGAN DEPARTMENT OF CORRECTIONS ( - 0 89

REQUEST FOR REHEARING RESPONSE

PRISONER NUMBER Name: Facility:
266511 Reyes JCF
Misconduct Date: Hearing Officer: Hearing Date: Received Date C] Warden RFR
11/23/2021 073 11/30/2021 12/21/2021 P Prisoner RFR

ist Charge 0 029 - Possession of Weapon
2nd Charge
ard Charge
4th Charge:
4] REHEARING DECISION >|

A request for rehearing in the above referenced matter is submitted Dy the prisoner who continues to argue his case
but offers no new verifiable evidence not availabie at the original hearing.

PD 03.03.105 “Prisoner Discipline” and its attachments contain the definitions of the misconduct charges and gives
notice of how and what a prisoner may be charged with and that a rehearing shall be granted only for the following
reasons:

1. The record of testimony made at the hearing is inadequate for the purpose of judicial review.

2, The hearing was not conducted pursuant to applicable statutes or policies and rules of the Department and the
deviation from policy, rule, or statue resulted in material prejudice to either party.

3. The due process rights of the prisoner have been violated.

4. The decision of the hearing officer is clearly not supported by competent, material, and substantial evidence on
the whole record,

5. The officer wha conducted the hearing was personally biased.

In this case, the prisoner was charged with and found guilty of Possession of a Weapon. All issues raised at Request
for Rehearing were adequately addressed by the Administrative Law Judge (ALJ) in the hearing report.

A rehearing is granted only when it appears a prisoner may not have received due pracess, or in the rare case when
new, verifiable, and relevant evidence is presented that was not available at the time of the hearing. Neither of these
conditions has been met.

The hearing was conducted pursuant to applicable statute, and policy and rules of the Department. The decision of
the hearing officer is supported by competent, material, and substantial evidence on the whole record. No bias is
apparent and there is insufficient evidence presented on appeal that would support granting a rehearing on the
matter.

The Request for Rehearing is DENIED.

Decision: (CJA d .
Denied (1 Retumed without action: Not filed within 30 calendar days Date Mailed:
enie
“af 2 a
[ib fel MAILED APR 22 202)
S| RICHARD D. RUSSELL, HEARINGS ADMINISTRATOR

30557
a .
Case 2:24-cv-11243-GAD-Cl ECF No. 1, Page|D.88 Filed-@5/10/24 Page 88 of AR Lye mA

_EPARTMENT OF CORRECTIONS . ; & Ne cee dB
ADUCT REPORT ; ate foo 4835-3228
Number: Prisoner Name: ve Facility Code: | Lock: ViolationiDate:
11 Reyes if. JCF A5S6 * np 48/2022 ai”
+ and Place of Violation: Contraband Removal Record Provided to Prisoner? I.
40 Cotton Food Service O Yes}. Date : DJ N/A aH
fe . fe “ . : , Doo. PET Pp fe . coe 2, dr
_Misconduct Class: | Wu Chi _ Carge(s): insolenbe, f } . ert

Describe Violation (If contraband involved, describe in detail: identify any other émployee witnesses}: - ae
Today beginning at approximately 1100 hours, Prisoner Reyes 266511 Began making comnients to me that caused alarm. Prisoner Reyes
stated to me thal he wanted to get to know me on a personal level. | made a comment about there being no more milk in the front cogler, d
: Prisoner Reyes commented that he would like to place a bet with me abgut whether there was milk in the cooler, and if | lost the bet had to.
give him a kiss. Prisoner Reyes asked me if the ring on my finger had afty special meaning? Prisoner Reyes told me that he wanted to Fingyel
way to communicate with:me outside of work. | told Prisoner Reyes thafhe need to stop with these comments and that they were not
appropriate. | told Prisoner Reyes-that { was not wanting to iose my job Prisoner Reyes told me that if | lost my job he could help me

\ found his comments extremely alarming and reported them to the custédy staff. All of these comments were made today, 4/8/2022.

7 Prisoner Reyes 266511 was identified by frequent contact and OTIS Fa¢eshet.
| Reporting Staff Member's Name (Print) i Reporting Staff Member's Signature Date and Time Written
AsO joc et Ge 4/8/2022 2000:

Pie nae REVIEW

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— _ . ™ — . "Tr - > 7
Locdtion/Verification/Condition of Evidence: : a, pice
to . mo . | nt : oo : : Bote MD : k
Elevated to Class | at review: If "yes", explain reason ,
Ci.No C] Yes _
3 hee __GOMPLETE THIS SECTION ONLY F .EVIEW OF CLASS | MISCONDUCT- eb
CL] Segregation [a Confinament to Cell/Room CI Other.
: "Time Given this Status;;. . = _ yo dds © Neti in Housing Unit of Statué: +f r J oO
eS Lif tfas phe 9 cf feds
i 7 / ‘
Hearing investigator Requested? C1 No Dh Yes Witnesses Requested? Pt No [] Yes
- : If yes, list
Relevant Documents Requested? [4 No (] Yes
If yes, list: . , eng
_ , ,
| Additional Comments: |. // Prisoner Waives 24 Hour Notice of Hearing? iF No C] Yes
| ‘ "HearingWate:
Reviewing Officer's Name (Print) Reviewing Officer's Signature EY Aw Date and Time
: ST ag PO. . 4 AS See Uf ys Ve. me
| have received a copy of this report. My signature does not | Prisoner's Signature ' Date
{ necessarily mean that | agree with the report. sof ‘
ta Prisoner refused to sign. Copy given to prisoner.
WAIVER OF CLASS-II OR Hil HEARING ne
| understand | have a right to a’hearing. | waive my right to, | Prisoners Signature, Ry *--| Batet oe
a hearing and plead guilty to all charges. | also waive my ws -
right to appeal and accept the sanctions imposed,

SANCTIONS IMPOSED (Hearing investigator entéjs begin and end dates for Class II misconducts)

_ Days Topiock - Begins: _ Ends: _ [] Counseling/Reprimand (Class lil only)
_ Days Loss of Privileges Begins: __ Ends: C}$ | _. Restitution (Class || only)
_____- Hours Extra Duty Beginss _ Ends:
Property Disposition if Applicable: .
Employee Accepting Plea and imposing Sanction (Print) Employee's Signature | Date
Hearing Investigators Name (Print) Hearing Investigator’s Signature Date:

“Pistribution: Prisorier; Counselor File, Record Office File (Class | and I} Central Office File (Class |}; Hearing Investigator (Class | & Class I}

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CSJ 2 Ext

MICHIGAN DEPARTMENT OF CORRECTIONS

CLASS I MISCONDUCT HEARING REPORT Rev. 1C..-
Prisoner | Prisoner Natne SE Peeility Céde. | Edd SN onDate®
266511 Reyes — JCF 04/08/2022
Charge(s) ~ a te bben Raye be ba Bae : SRE eee NS Ep ta Veo ST we

Sexual Misconduct / Insolence
If Charge Changed by Hearing Officer

Ccuity [x] Not Guilty

Misconduct Report Read to and Discussed with Prisoner EX] (check if applies) No Hearing Investigation Requested

Hearing Investigation Read to and Discussed with Prisoner DJ (check if applies) LJ (check if applies)
EVIDENCEISTATEMENTS IN ADDITION TO MISCONDLE

This hearing was conducted via webcam. The hearing is timely. Prisoner was present. ! confi rmed the Review was

completed within 24 hours and 24-hour notice was given to the prisoner. | read the Misconduct Report and reviewed the

evidence with the prisoner. Prisoner was advised that at the conclusion of the hearing, he will be told the decision, sanction

and dates if any, and when completed, the report will be submitted to the facility for delivery. The following Record was

reviewed:

(13 Misconduct Report (1 pq)

{2} Prisoner's Primary Method of Communication (1 pg)

{3} Documentation of Effective Communication from HI (1 pg)

{4} Hearing Investigation Report (1 pg)

(5) Prisoner's Statement (2 pgs)

(6) Questions Directed to Anson (1 pq)

(7) Email from Anson (1 pg) *** Continued on Page 2
° eo ae “ oe eee ner "or "= — Te REASONS FOR Fl Br

EFFECTIVE COMMUNICATION:

Sgt. St. Charles included documentation on the Misconduct Report regarding his contact with prisoner at the Review.

According to Sgt. St. Charles, he identified prisoner's primary method of communication, used prisoner's primary method to

communicate with prisoner, and confirmed with prisoner that the communication was effective. | find that the communication

at prisoner's Review was effective, and that prisoner was able to fully participate. HI Austin submitted a memo regarding her

contact with prisoner during their meeting. The documentation indicates the HI used prisoner's primary method of

communication and confirmed the communication was effective. | find that the communication at prisoner's meeting with the

H! was effective, and that prisoner was able to fully participate. At hearing, prisoner confirmed his primary method of

communication. Prisoner also confirmed he could clearly hear and understand this ALJ.
“*Cantinued on Page 2

PROPERTY: DISPOSITION (for contraband see PD 04.07.112) °°." -

FINDINGS a
, Charge No. 1 4 Guilty C] Not Guilty L] Dismissed Reporting Code 057
Charge No. 2 CL] Guilty L) Not Guilty ~] Dismissed Reporting Code 476
Charge No. 3 [) Guilty L] Not Guilty C Dismissed Reporting Code
Charge No. 4 Guilty Ct Not Guilty (] Dismissed Reporting Code
, ° DISPOSITION (select one or more) (Topiock & LOP Sanctions End at 6:00-am) °
Begins Ends
Days of Detention Days Credit
Days Top Lock Hours Extra Duty
30. Days Loss of Privileges 04/19/2022 05/19/2022 $ Restitution
Misconduct Hearing Report personally handed to Prisoner by | Hearing Report given to Staff Member by Hearing Officer for Delivery to
| Hearing Officer on this date: (Check if Applies) C] Prisoner this date: 4/22/2022 (Check if Applies) KX)
| Date of Hearing 04/19/2022 Name of StaffMember HI Austin - JCF
Hearing Officer's Name Oo Hearing Officer's Signature pee Date os oe
073 Sutherland Ald Aucthurland- 4/22/2022 |

"DISTRIBUTION QO) Record Office O Central Office File O Prisoner O Counselor Fite O Hearing Investigator
fn
Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.90 Filed 05/10/24 Page 90 of 100

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wet FO OG eo” .
MICHIGAN DEPARTMENT OF CORRECTIONS CSs2000 12/80
4835-42
CLASS | MISCONDUCT HEARING REPORT - Continuation Page No. 2
" (Type of Hearing)
Prisoner Number Prisoner Name Institution Vialation/Notice Date
* 266511 Reyes JCF 4/8/2022

{Continued from Page One: Evidence/Statements):
(8) Statement fram Ryan (1 pg)
(9) Offender Restriction Filter Report (1 pg}
Prisoner entered a not guilty plea.
Prisoner is HID designated. Prisoner confirmed his primary method is Voice without Hearing Aids. | asked prisoner if he
could clearly hear and understand me. Prisoner stated, "Yes ma’am.” Prisoner agreed to immediately interrupt if something
| is said that he does not clearly hear or understand.
| asked prisoner about the charges. Prisoner responded, "I never said any of those comments.” Prisoner added, “I want to
| stick to my statement.” Prisoner stated his “character is being assassinated.” Prisoner also argued adding a charge at a
Re-Review constitutes a due process violation. Prisoner explained, “If she said | made these comments at 11 o'clock, |
made no inappropriate comments to her.” | asked prisoner if he had issues with this worker before this alleged incident.
2 Prisoner replied, “No, but | had issues with prisoners.” Prisoner explained he believed other inmates “manipulated” the
: worker to make the allegation. Prisoner stated he did not have proof to support his belief. Prisoner stated, “Ain't nothing |
can do about it." After advising prisoner that a decision would not be made until this ALJ could go over the Record again, |
asked prisoner if there was anything else that he believed | should know or that he wanted me to know. Prisoner replied,
“No ma'am.” Prisoner was advised a decision would be made today and the HI would notify prisoner of the decision,
sanction, and dates. Prisoner replied, "Thank you.”

+"

(Continued from Page One: Reasons for Findings):
Additionally, Prisoner agreed to interrupt if there was something he did not clearly hear or r understand. Further, prisoner's
responses were appropriate to the questions directed to him throughout the hearing. | find that the communication at this
hearing was effective, and that prisoner was able to fully participate.
SEXUAL MISCONDUCT:
Per MDOC PD 03.03.105, Attachment A, Sexual Misconduct includes words or actions of a sexual nature directed at
another person in order to harass or degrade that person. Prisoner denied making the alleged comments to the food
service worker. | find prisoner's argument not credible. At hearing, prisoner admits he did not have prior issues with this
worker. While prisoner hypothesized other inmates influenced to the worker, there is no evidence on this Record alleging
the worker was bias toward prisoner or had a motive to lie. There is aiso no evidence to support a conclusion that other
inmates influenced the worker. Additionally, | find that the detail in the allegation is credible. Had the worker wanted to set
up prisoner, it's more likely that a more direct and clear-cut allegation would be used. Instead, the worker appeared limit
the allegation to what was said. Further, prisoner directed muitiple questions to the worker. In her response, the worker
explained that prisoner's behavior continued throughout the shift accumulating to the comment about a kiss at 5
approximately 1830 hours. It is credible to believe that the worker would delay reporting prisoner's comments and
advances until his intentions were clear. | find that prisoner made all of the statements alleged in the Misconduct Report. |
‘/ also find that prisoner proposed a bet that would require the worker to kiss him. Additionally, | find that prisoner's
"comments were propositions for an inappropriate personal and romantic relationship. | find that prisoner's words were
sexual in nature. Propositioning an inappropriate personal romantic relationship with the staff member objectifies the staff
member and is inherently degrading. | find that prisoner directed his words to the worker for the purpose of harassing and
degrading her. -Propositioning a female staff member for an inappropriate personal and romantic relationship, including a
kiss, constitutes Sexual Misconduct. | find prisoner guilty of Sexual Misconduct. The charge is upheld.
***Continued on Page 3

HEARING OFFICER'S NAME & CMIS CODE (Typed) | Copy of Hearing Report personally handed to
ALJ Sutherland 073 Prisoner by Hearing Officer this date {check if applies) {_]
HEARING OFFICER’S SIGNATURE Copy of Hearing Report Given to Staff Member by Hearing
Officer for Delivery to Prisoner this date 4/22/2022 (check if applies) DX]
s/ ALJ Sutherland Date of Hearing (Name & Clock No. of Staff Member)
__ 4/19/2022 HI Austin - JCF

DISTRIBUTION: White — Institution, Green - Central Office: Canary — Prisoner, Pink — Visitor/Counselor; Goldenrod — Hearing Investigator
Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.91 Filed 05/10/24 Page 91 of 100

eR 2

MICHIGAN DEPARTMENT OF CORRECTIONS CSJ-240D 12/90

4835-4243
CLASS | MISCONDUCT HEARING REPORT —- Continuation Page No. 3
{Type of Hearing)
Prisoner Number Prisoner Name Institution Viotation/Notice Date
266511 Reyes JCF 4/8/2022
(Continued from Page Two: Reasons for Findings):
INSOLENCE:

Per MDOC PD 03.03.105, Attachment B, Insolence is defined as words, actions, or other behavior which is intended to
harass, degrade, or cause alarm in an employee. The same facts were used to support the charge of Insolence. | find that
prisoner's behavior constitutes a single act of misconduct. | also find the Sexual Misconduct best characterizes. the
misconduct. At the hearing, any duplicative charges MUST be combined, i-e., the prisoner may not have two separate
findings of guilt for a single act of misconduct. MDOC Hearings Handbook (1}(E)(C). As a result, the charge of Insolence is
dismissed as duplicative to prisoner's guilty finding for Sexual Misconduct.

Prisoner was informed of the decision, sanction, and dates.

END OF REPORT.

HEARING OFFICER’S NAME & CMIS CODE (Typed) | copy of Hearing Report personally handed to
ALJ Sutherland 073 Prisoner by Hearing Officer this date (check if applies) [|

HEARING OFFICER'S SIGNATURE Copy of Hearing Report Given to Staff Member by Hearing

Officer for Delivery to Prisoner this date 4/22/2022 (check if applies) [X]
s / ALJ Sutherland Date of Hearing (Name & Clock No. of Staff Member)
4/19/2022 HI Austin - JCF

DISTRIBUTION: White - Institution; Green - Central Office, Canary — Prisoner, Pink — Visitor/Counselor: Goldenrod — Hearing Investigator

‘y ICHIGAN DEPARTMENT OF CORRECTIONS

Bn Oe

Case 2:24-cv-11243-GAD-Cl ECF No:1, PagelD.92 Filed 05/10/24 Page 92 OPRCL

CSJ-228
-M SCONDUCT REPORT f _ 835-3228
* Prisoner Number: Prisoner Name: Facility Code: | Lock: Violation Date:
266511 Reyes Se JCF A -56 4/16/2022
Time and Place of Violation: ~ Contraband Removal Record Provided to Prisoner?
1628 Intake CJ] Yes Date -  &) NVA
Misconduct Class: X] I Cc] no CJ ow Charge(s): Substance Abuse({ marijuana } a

Describe Violation (if contraband involved, describe in detail: identify any other employee witnesses):

Prisoner Reyes (266511) submitted a urine sample for substance abuse testing.

Prisoner Reyes used hand sanitizer prior to being provided a test cup:

The urine sample seal was signed by the prisoner and the sample sealed in the presence of the prisoner.

The urine sample was sent to Phamatech Laboratories for further testing.

Phamatech Laboratories reported the sample is positive for Marijuana Metabolite with a quantitation of 131 ng/ml, .

Health Care reported prisoner Reyes has no medical approval for thistgdsitive result. SAT Bibel 1g haar agente +
Prisoner Reyes was identified at the time of the test by his MDOC ID Card.

Attached: Phamatech Laboratories report, Health Care e-mail thread and Phamatech Chain of Custody Form.

Reporting Staff Member's Name (Print) | Reporting. Staff Meraber's Signature Date and Time Written
Logan «tg Eine 5/7/2022 2036

Locatior/Verification/Condition of Evidence: |.

to

1] No C0 Yes

Elevated to Class | at review: if “yes”, explain reason:

COMPLETE THIS SECTION ONLY FOR REVIEW OF CLASS | MISCONDUCT

Status Pending Hearing: [AA Bond Yq Segregation ["] Confinement to Cell/Room [] Other
.4.Reason ifNon-Bond:, — _[]. Non-Bond bist £7). Bond-Revoked (must give reason). ce cas ee tre fo ot tee coe
Date and Time Given this Status: po: fy Who Notified in Housing Unit of Status: fo vor te |
fife i 4 9 J Wat db
Hearing Investigator Requested? O} No CKyes Witnesses Requested? TANo oO Yes
If yes, list:
Relevant Documents Requested? [1] No CKyes
If yes, jist: tA 2 :
Additional Comments: Prisoner Waives 24 Hour Notice of Hearing? [] No Ayes
f Hearing Date:
Reviewing Officer's Name (Print } Reviewing Officer's Sig ‘ature Revidw ate and Time hi
., oF f. f ° , ‘ r i

ti tt Poot pit die ~ x xy [oa ‘
I have received a copy of this report. My signature does not | Prisoner's Signature Date *
necessarily mean that 1 agree with the report. a a .

Prisoner refused to sign. Copy given to prisoner, (eed Sf
WAIVER OF CLASS-1i OR II HEARING a

! understand | have a right to a hearing. ! waive my right to | ‘Prisoner's Signature ' Date
a hearing and plead guilty to all charges. | also waive my ™
right to appeal and accept the sanctions imposed. |

SANCTIONS IMPOSED {Hearing Investigator enters begin and end dates for Class || misconducts)

Days Toplock Begins: Ends: [J Counseling/Reprimand (Class II only)
Days Loss of Privileges Begins: Ends: CJ $ Restitution (Class il only)
Hours Extra Duty Begins: Ends:

Property Disposition If Applicable:

Employee Accepting Plea and Imposing Sanction (Print) Employee's Signature Date

Hearing Investigators Name (Print) Hearing Investigator's Signature Date

Distribution: Prisoner, Counselor File; Record Office File (Class | and Il); Central Office File (Class 1); Hearing Investigator (Class | & Class Il}

Case 2:24-cv-11243-GAD-Cl

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ECF No. 1, PagelD.93

- MICHIGAN DEPARTMENT OF CORRECTIONS

REQUEST FOR REHEARING RESPONSE

Filed 05/10/24 Page 93 of 100

ExsDD

090

PRISONER NUMBER Name: Facility:
2665114 Reyes JCF
Misconduct Date; Hearing Officer: Haaring Date: Received Date C] Warden RFR
4/8/2022 073 4119/2022 5/16/2022 F Prisoner RFR

1st Charge 9 057 - Sexual Misconduct (Werds/actions of a sexual nature)
2nd Charge 426 - Insolence
3rd Charge
4th Charge:
4] REHEARING DECISION >|

A request for rehearing in the above referenced matter is submitted by the prisoner who continues to argue his case.

PD 03.03.105 “Prisoner Discipline” and its attachments contain the definitions of the misconduct charges and gives
notice of how and what a prisoner may be charged with and that a rehearing shall be granted only for the following
reasons:

1. The record of testimony made at the hearing is inadequate for the purpose of judicial review.

2, The hearing was not conducted pursuant to applicable statutes or policies and rules of the Department and the
deviation from policy, rule, or statue resulted in material prejudice to either party.

3, The due process rights of the prisoner have been violated,

4. The decision of the hearing officer is cleariy not supported by competent, material, and substantial evidence on
the whole record,

5. The officer wha conducted the hearing was personally blasec.

in this case, the prisoner was charged with and found gullty of Sexual Misconduct, All Issues raised at Request for
Rehearing were adequately addressed by the Administrative Law Judge (AL) In the hearing report. The prisoner
affers no new verifiable evidence not available at the ariginal hearing.

A rehearing Is granted only when it appears a prisoner may not have received due process, or in the rare case when
new, verifiable, and relevant evidence is presented that was not available at the time of the hearing. Neither of these
conditions has been met. The prisoner was properly reviewed on the charge of Sexual Misconduct and tt was fully
within the authority of the Reviewing Officer to add this charge after review of the Misconduct. This is consistent with
PD 03.03.105 “Prisoner Discipline” and the Hearings Handbock.

The hearing was conducted pursuant to applicable statute, and policy and rules of the Department. The decision of
the hearing officer is supported by competent, material, and substantial evidence on the whole record. No bias ts
apparent and there is insufficient evidence presented on appeal that would support granting a rehearing on the
matter,

The Request for Rehearing is DENIED.

D lon: A d
ecision: [1] sereve (1 Retumed without action; Not filed within 30 calendar days Date Malled:
MI Denied Anh
fikiseiaeel—
Bl el RICHARD D. RUSSELL, HEARINGS ADMINISTRATOR MAILED JUN28 2022

31505

600020
Case 2:24-cv-11243-GAD-CIl ECF No.

1, PagelD.94 Filed 05/10/24 Page 94 of 100

MICHIGAN DEPARTMENT OF CORRECTIONS ‘ nee none
ev, 10/10

CLASS | MISCONDUCT HEARING REPORT

Prisoner’ Prisoner Name
266511

Charge(sk
Substance Abuse

tf CBfSfe Chiatiged by Hearing Officer

ok Guilty >] Not Guilty

No Hearing Investigation Requested
[ ] (check if applies)

Misconduct Report Read to and Discussed with Prisoner DX] tcheck if applies)
Hearing Investigation Read to and Discussed with Prisoner i (eneck | if applies)

“ BVIDENCE/STATEMENTS:

Video was reviewed before hearing outside of prisoner's presence. The hearing w was ‘conducted \ via webcam. The hearing is
timely. Prisoner was present. | confirmed the Review was completed within 24 hours and 24-hour notice was given to the
prisoner. | read the Misconduct Report and reviewed the evidence with the prisoner. Prisoner was advised that at the .
conclusion of the hearing, he will be told the decision, sanction and dates if any, and when completed, the report will be
submitted to the facility for delivery. The following Record was reviewed:

(1) Misconduct Report (1 pg)

(2) Hearing Investigation Report (1 pg)

(3) Prisoner's Primary Method of Communication (1 pg)

(4) Documentation of Effective Communication from HI (1 pg)

(5) Email from Landfair (1 pg)

(8) Phamatech Laboratories Report (1 pg)

(7) Phamatech Chain of Custody Form (1 pg} *** Continued on Page 2

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OeT 7 ae

CONFIDENTIALITY:

Exhibit 8, Memo with Video Timeline; and Exhibit 9, Video Surveillance; is marked confidential for facility safety and security
and to avoiddisclosure of camera locations and capabilities.

EFFECTIVE COMMUNICATION: :

Sgt. St. Charles included documentation on the Misconduct Report regarding the sergeant's contact with prisoner at the
Review. According to Sgt. St. Charles, prisoner's primary method of communication was identified, prisoner's primary
method of communication was used at the Review, and the sergeant determined the communication was effective. | find that
the communication at prisoner's Review was effective, and that prisoner was able to fully participate. HI Austin submitted a
memo regarding her contact with prisoner during their meeting. The documentation indicates the HI used prisoner's primary
method of communication and confirmed the communication was effective. | find that the communication at prisoner's

meeting with the HI was effective, and that prisoner was able to fully participate. At hearing, prisoner confirmed his primary
method of communication. ***Continued on Page 2

— Fxuincs
Charge No. 1 x] Guilty L] Not Guilty oO Dismissed Reporting Code 039
Charge No, 2 CO Guilty LJ Not Guilty L] Dismissed Reporting Code
Charge No. 3 L] Guilty (] Not Guilty LC Dismissed Reporting Code
Charge No. 4 CL) Guilty [1] Not Guilty C) Dismissed Seem Code
: buy : "DISPOSITION (select one or mare) (Toplock & LOP Saicnonw ene RET eee
Begins Ends
Days of Detention Days Credit
Days Top Lock Hours Extra Duty
30‘ Days Loss of Privileges 05/19/2022 06/18/2022 $ Restitution
Misconduct Hearing Report personally handed to Prisoner by | Hearing Report given to Staff Member by Hearing Officer for Delivery to
Hearing Officer on this date: (Check if Applies) L] Prisoner this date: 5/24/2022 (Cheok if Applies) EX}
Date of Hearing 05/17/2022 Name of Staff Member Hi Austin - JCF
Hearing Officers Name 2075.0. [searing Officer's Signature "2 ane, ot ED atese sa:

: DISTRIBUTION [ Record Office O Central Office File O Prisoner 0 Counselor File 0 Hearing Investigator

073 Sutherland ALY "elnd 5/24/2022

Case 2:24-cv-11243-GAD-Cl ECF No. 1, PagelD.95 Filed 05/10/24 Page 95 of 100

Grae / .
_ MICHIGAN DEPARTMENT OF CORRECTIONS ~ CSJ-240D 12/90
4835-4243
CLASS | MISCONDUCT HEARING REPORT — Continuation Page No. 2
* (Type of Hearing) :
Prisoner Number Prisoner Name Institution Violation/Notice Date
— 266511 Reyes JCF 4/16/2022

(Continued from Page One: Evidence/Statements):

(8) Memo with Video Timeline (1 pg)

(9) Video Surveillance

(10) Offender Restriction Filter Report (1 pg)

Video shows Reyes using hand sanitizer at 4:23:20. Reyes is provided a collection cup at 4:23:33. Reyes returns the
coliection cup. The officer secures the lid immediately. Reyes's urine sample is on a desk, Reyes’s urine sample is left
undisturbed. The officer collects another urine sample from Emerson. Emerson is provided hand sanitizer at 4:24:14.
Emerson is provided a clean collection cup of 4:25:30. Emerson urinates and returns the collection cup to the officer. The
officer immediately secures the lid at 4:25:48. Emerson is provided hand sanitizer again. The officer places Emerson's .
urine sample on the desk, closest to the edge, at 4:26:33. The officer monitors both urine samples for the instant test
results. The samples remain in the same positions. The officer begins paperwork. Reyes is called to the desk. Reyes signs
the paperwork at 4:29:10. The officer transfers Reyes's urine sample into the lab container. The seals are applied at
4'30:05. Reyes’s urine sample is bagged in sealed with the paperwork at 4:30:50. Emerson is called to the desk. The
officer begins paperwork for Emerson at 4:32:10. Emerson signs the paperwork at 4:33:27. The officer transfers

Emerson's wrine sample into the lab container. The seals are applied at 4:34:26. Emerson's urine sample and paperwork
are sealed inside the bag.

Prisoner entered a not guilty plea.

Prisoner is HID designated. Prisoner confirmed his primary method of communication is Voice without Hearing Aids. |
asked prisoner if he could clearly hear and understand me. Prisoner stated, “Yes ma’am." Prisoner agreed to immediately
‘interrupt if he does not clearly hear or uncersian something said.

i asked prisoner about the charge. Prisoner stated there were “two other samples” with prisoner's urine sampte. According
to prisoner, the collection cups were not labeled. Prisoner argued the urine was in properly transferred to another .
container. | asked prisoner if he used marijuana. Prisoner stated, "No ma'am.” | summarized video surveillance for ,
prisoner. | asked prisoner if he wished to respond to the video summary. Prisoner replied, "The O.P. says they can only
pour into one cup.” | asked prisoner if there was anything else that he believed | should know or that he wanted me to
know. Prisoner replied, “No ma'am.” 7

After advising prisoner of the decision, | asked prisoner if he clearly heard everything we discussed. Prisoner replied, “Yes
ma'am ” :

(Continued from Page One: Reasons for Findings):

Prisoner also confirmed he couid clearly hear and understand this ALJ. Additionally, Prisoner agreed to interrupt if there
was something he did not clearly hear or understand. Prisoner's responses were appropriate to the questions directed to
him. At the conclusion of the hearing, prisoner confirmed he clearly heard everything discussed. | find that the
communication at this hearing was effective, and that prisoner was able to fully participate.

SUBSTANCE ABUSE:

Per MDOC PD 03.03.105, Attachment A, Substance Abuse includes unauthorized possession or use of marijuana.
Prisoner tested positive for 131 ng/mL of marijuana metabolite. Prisoner denied using marijuana. | find prisoner's argument...
not credible. Prisoner argued his urine sample was confused with another. However, video surveillance confirmed
prisoner's urine sample remained undisturbed until it was prepared for the lab. Additionally, video surveillance confirmed
the correct urine sample was packaged with prisoner’s paperwork. Video confirmed prisoner used hand sanitizer and that
the officer immediately placed at the lid on prisoner's urine sample. | find there is insufficient evidence on this Record to
conclude that the integrity of prisoner's urine sample was compromised. Prisoner's test results are circumstantial evidence
of use. | find that prisoner used a substance containing marijuana. Marijuana is not legitimately available to inrnates.
Prisoner did not allege he was: authorized to use marijuana. | find that prisoner was not authorized ta use marijuana. “~~...
Unauthorized use of marijuana constitutes Substance Abuse. | find prisoner guilty of Substance Abuse. The charge is

HEARING OFFICER’S NAME & CMIS CODE (Typed) | Copy of Hearing Report personally handed to
. ALJ Sutherland 073 Prisoner by Hearing Officer this date (check if applies) C]
HEARING OFFICER'S SIGNATURE Copy of Hearing Report Given te Staff Member by Hearing
Officer for Delivery to Prisoner this date 5/24/2022 (check if applies) [X]
s/ ALJ Sutherland Date of Hearing {Name & Clock No. of Staff Member)
5/17/2022 Hl Austin - JCF

DISTRIBUTION: White — Institution; Green — Central Office; Canary —Prisoner: Pink — Visitor/Counselor,; Goldenrod — Hearing Investigator

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MICHIGAN DEPARTMENT OF CORRECTIONS er
PRISONER/PAROLEE GRIEVANCE FORM |

SL

Date Received at Step I. 3 i Grievance Identifier: Lil Li Laer |

Name (print first, last)

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What : attempt did you make to resolve this issue prior to writing this grievance? On what date?

If none, explain why. © xX mas +: ols NY “te, oF, Ke’ eo
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. Four copies of each page and supporting documents must be submitted with this form. The grievance must be submitted
»:to:theGrievance Coordinator in accordance with the time limits of OP 03.02.130.

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RESPONSE (Grievant Interviewed? (] Yes EING . if No, give explanation. if resolved, explain resolut

Si
oc *
Respondent’s Signature Date Reviewer’s Signature
Respondent’s Name. (Print) Working Title Reviewer’s Name (Print) *
Date Returned to If resolved at Step I, Grievant sign here.
Grievant: a}. 34 | Resolution must be described above. Grievant's Signature

DISTRIBUTION: White, Green, Canary, Pink --- Process to Step One; Goldenrod ~ Grievant

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- oh ODE

Michigan Department of Corrections
GRIEVANCE REJECTION LETTER

DATE: 6/23/2022

TO: REYES 266511 LOCATION: JCF A-56

FRO: Grievance Coordinator: Cobb

SUBJECT: Receipt/Rejection/Deniui for Step | Grievance

Your Step { erievance regarding agusilegible/extrancous information-

‘vas received in this office on 6/23/20 and was rejected due to the following reason:

Your grievance is being rejected and returned to you for one of the following reasons, which are
vague, legible. Per PD 03.02. (30. Grievance is vague as to what the main issue is or who you are
grieving, “cvievances need to state who, what, when, where, why and how. You have provided na

information on any specific policy or procedure that has been violated or any unsatisfactory
‘ondition ofecontinement. * ¥

Any future references to this grievance should utilize this identifier:

JCF f/ 2022 / 06 / 1243 / 28B
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G. Robert Cotton Correctional Facility
Step Hf Grievance Response
Grievant: Reyes # 266511

Grievance #: JCF-2022-06-1243-28B .

I have reviewed the Step I grievance, Step I response along with the associated Step
II reason for appeal. The Step I grievance was rejected for the complaint being filed on
a non-grievable issue. At Step II you dispute the rejection.

Grievance Rejected

PD 03.02.130 “Prisoner/Parolee Grievances” defines what is grievable and non-grievable.
The Step I grievance was rejected as vague/illegible-EXTRANEOUS INFORMATION.
Per PD 03.02.130 Grievance is vague as to what the main issue is or who you are
grieving. Grievances need to state who, what, when, where why and how.

The step I rejection has been reviewed by the Warden’s office in accordance with P.D.
03.02.130 “Prisoner/Parolee Grievances” and the REJECTION IS UPHELD AT STEP
Il

Noah Nagy, Warden BL £2 y[2o70

Respondent’s Name/Position Respondent ##ignature Date

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MICHIGAN DEPARTMENT OF CORRECTIONS Se YT Aw) 4835-4248 5/09

PRISONER/PAROLEE GRIEVANCE APPEAL FORM CS)-247B
Date Received by Grievance Coordinator, .. . Grievance Identifier: Scr IyalOiG| i\ dy Hie | ios RI
at Step IT: a4. S pu AP ere.

INSTRUCTIONS: THIS FORM IS ONLY TO.BEUSEG TO APPEAL A STEP I Gh ANCE, ._.... Ces
The white copy of the Prisoner/Parolee Grievance Form CS]-247A (or the ggldenred-copy if you have nt been provided
with a Step I response in a timely manner) MUST be attached to the white [copy of this form if you appeal it at both Step

II and Step IIT. AUG La 1022 |

If you should decide to appeal the Ste evance response to Step I, your appeal should be directed to
é mote ot:

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+1 . If it is not submitted by this ate, HS Mtil be re terminated.

If you should decide to appeal the response you receive at Step I], you should send your Step HI Appeal to the Director's
Office, P.O. Box 30003, Lansing, Michigan, 48909.

Name (Print first, last) Number Institution Lock Number | Date of Incident | Today’s Date

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STEP rr _ Reason for Appeal " Grevant ‘Ss Ladi ‘thin the. Culee of ole Cdren he

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STEP II — Response Date Received by

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SUR PHL SBC E Ae Fh 21/02» |? Date Returned to,

Srleyerts)
Respondent’s Name (Print) Respondent's Signay(#é Date! 3)

STEP III — Reason for Appeal (¢\e-Vance process at SCE shows Or
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NOTE: Only-a copy of this appeal and the response wiil be returned to you.

STEP III — Director’s Response is attached as a separate sheet.

DISTRIBUTION: White - Process to Step III; Green, Canary, Pink - Process to Step II; Galdenrod - Grievant

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STATE OF MICHIGAN
GRETCHEN WHITMER DEPARTMENT OF CORRECTION: HEIDI E. WASHINGTON
GOVERNOR LANSING DIRECTOR
STEP ITI GRIEVANCE DECISION Rec#: 137001

288

Ao

Grievance Identifier: ICF-22-06-1243-28B
Step Hl Received: 8/10/2022

Your Step III appeal has been reviewed and considered by the Grievance Section of the Office of
Legal Affairs in accordance with PD 03.02.130, "Prisoner/Parolee Grievances".

THE REJECTION IS UPHELD.

2022
THIS DECISION CANNOT BE APPEALED WITHIN THE DEPARTMENT. AUG 23

Richard D. Russell, Manager Grievance
Section, Office of Legal Affairs

CC: Warden, Current Facility:
Warden, Grieved Facility; 7 CY

GRANDVIEW PLAZA + ?F.0. BOX 30003 « LANSING, MICHIGAN 48909

